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12                              UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
13                                    LOS ANGELES DIVISION
     In re                                      Case No. 2:21-bk-13523-WB
14
     URBAN COMMONS, LLC,                           Chapter 7
15
                   Debtor.
16

17                                                 Adv. No. 2:23-ap-01292-WB
     CAROLYN A. DYE, Chapter 7 Trustee,
18                                                 POTTER ANDERSON & CORROON LLP’S
                   Plaintiff,
                                                   MOTION TO DISMISS FIRST AMENDED
19                                                 COMPLAINT FOR (1) AVOIDANCE AND
                                                   RECOVERY OF FRAUDULENT
20                                                 TRANSFERS, (2) AVOIDANCE OF POST-
     POTTER ANDERSON & CORROON LLP,
                                                   PETITION TRANSFER, (3)
21                                                 PRESERVATION OF FRAUDULENT,
                   Defendant.
                                                   PREFERENTIAL AND POST PETITION
22                                                 TRANSFER TRANSFERS, AND (4)
                                                   DISALLOWANCE OF CLAIMS
23                                                 PURSUANT TO FEDERAL RULE OF
                                                   CIVIL PROCEDURE 12(b)(6) AND
24                                                 FEDERAL RULE OF BANKRUPTCY
                                                   PROCEDURE 7012; AND MEMORANDUM
25                                                 OF POINTS AND AUTHORITIES IN
                                                   SUPPORT THEREOF
26
                                                   DATE: JANUARY 23, 2023
27                                                 TIME: 2:00 PM (PT)
                                                   CTRM: 1375
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 1 TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE,

 2 PLAINTIFF AND HER COUNSEL, AND ALL OTHER INTERESTED PARTIES:

 3         Potter Anderson & Corroon LLP (the “Defendant” or “Potter Anderson”) respectfully moves,

 4 pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, made applicable to this proceeding

 5 by Rule 7012 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of

 6 an order, substantially in the form attached hereto as Exhibit A, dismissing with prejudice the First

 7 Amended Complaint for (1) Avoidance and Recovery of Fraudulent Transfers, (2) Avoidance of Post-

 8 Petition Transfer, (3) Preservation of Fraudulent, Preferential and Post Petition Transfer Transfers,

 9 and (4) Disallowance of Claims [Adv. Docket No. 24] (the “Amended Complaint” or “Complaint”)

10 filed by Carolyn A. Dye, in her capacity as Chapter 7 trustee (the “Trustee” or “Plaintiff”) for the

11 bankruptcy estate of the Urban Commons, LLC (the “Debtor” or “Urban Commons”). The grounds

12 for this motion are set forth in the following Memorandum of Points and Authorities. Pursuant to

13 Bankruptcy Rule 7012 and Local Rule 7012-1, the Defendant consents to entry of a final order and

14 judgment by the United States Bankruptcy Court for the Central District of California Los Angeles

15 Division.

16                                                  Respectfully submitted,

17 Dated: January 2, 2024                           GOLDEN GOODRICH LLP

18

19                                                  By: /s/ Beth E. Gaschen
                                                        JEFFREY I. GOLDEN
20                                                      BETH E. GASCHEN
                                                        Attorneys for Defendant
21                                                      Potter Anderson & Corroon LLP

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 1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.         STATEMENT OF THE NATURE AND STAGE OF PROCEEDINGS

 3            On June 21, 2023, Plaintiff initiated this adversary proceeding against Potter Anderson (the

 4 “Original Complaint” or “Adversary Proceeding”). On September 18, 2023, Potter Anderson filed

 5 its Motion to Dismiss Adversary Proceeding Pursuant to FRCP 12(b)(6) and FRBP 7012; and

 6 Memorandum of Points and Authorities in Support Thereof Including Exhibit A and Proof of Service

 7 [Adv. Docket No. 15] (the “Original MTD”). On October 19, 2023, the Trustee filed an untimely

 8 opposition [Adv. Docket No. 15] to the Original MTD (the “Original Opposition”). On October 24,

 9 2023, Potter Anderson filed a timely reply [Adv. Docket No. 17] to the Trustee’s Original Opposition

10 (“Original Reply”).

11            On October 31, 2023, United States Bankruptcy Court Central District of California Los

12 Angeles Division (the “Court”) held a hearing on the Original MTD (the “Hearing”). At the Hearing,

13 the Court granted the Original MTD, without prejudice. On November 8, 2023, the Court entered the

14 Order Granting Potter Anderson & Corroon LLP’s Motion to Dismiss Adversary Complaint was

15 entered by the Court [Docket No. 21] (the “Original Dismissal Order”) dismissing the Original

16 Complaint but granting the Trustee leave to file an amended complaint. Although the Court granted

17 the Trustee leave to amend by November 30, 2023, the Court emphasized that the Trustee must allege

18 specific facts to support her claims and that more diligence was required.

19            On November 30, 2023, the Trustee filed the Amended Complaint [Adv. Docket No. 24].

20 Unfortunately for the Trustee, the Amended Complaint does not remedy any of the flaws that plagued

21 the Original Complaint. Simply put, the Trustee cannot demonstrate that any viable claims exist

22 against Potter Anderson under any of her counts and indeed, has seemingly walked away from at

23 least two claims despite being reasserted in the Amended Complaint.1

24

25

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27   1
     As it relates to Counts II and III, Potter Anderson reserves all rights to seek sanctions for continuing to pursue invalid
   claims, which were previously dismissed and which were not amended or supplemented in any material way in the
28 Amended Complaint.
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 1 II.         STATEMENT OF FACTS2

 2             A.     Potter Anderson’s History with the Debtor.

 3             Potter Anderson was previously engaged to represent the Debtor, two of its corporate

 4 representatives, and certain of the Debtor’s wholly-owned subsidiaries3 in the bankruptcy case of In

 5 re EHT US1, Inc., et al., (the “EHT Debtors”) Case No. 21-10036 (CSS) (Bankr. D. Del.) (the

 6 “Delaware Bankruptcy Case”) filed in the United States Bankruptcy Court for the District of

 7 Delaware (the “Delaware Bankruptcy Court”). See Original MTD, Pages 3-5. All work performed

 8 by Potter Anderson was provided to or for the benefit of the Debtor, as the ultimate parent and

 9 operating entity of the Urban Commons enterprise, and a detailed description of the work performed

10 work can be found in the Original MTD, which incorporated by reference herein in full. See id.

11             On September 22, 2021, Potter Anderson filed a proof of claim (Claim No. 11) in the Urban

12 Commons bankruptcy case for unpaid legal fees and expenses owed by Urban Commons in an

13 amount not less than $329,212.95 (the “Proof of Claim”). By the Proof of Claim, Potter Anderson

14 asserted a secured claim pursuant to section 506(a) of the Bankruptcy Code, an administrative claim

15 to the extent services provided were during the post-petition period and, in the alternative, a

16 prepetition general unsecured claim. On November 9, 2021, counsel to the Trustee sent a demand

17 email to Potter Anderson. On November 18, 2021, Potter Anderson sent a letter (the “Response

18 Letter”) responding to the Trustee’s initial demand letter detailing the shortfalls in the Trustee’s case

19 and Potter Anderson’s defenses thereto. Despite these factual and legal assertions, the Original

20 Complaint neglected to account for any of those factors or defenses.

21

22

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24   2
       The Original MTD and related memorandum of points and authorities are incorporated by reference herein in full,
     including all factual assertions and legal arguments.
25
     3
         The former clients consisted of: Urban Commons, LLC, EHT HIDH, LLC, EHT ESAN, LLC, EHT RDH, LLC, EHT
26 HISM, LLC, EHT HIOR, LLC, EHT SPH, LLC, EHT ESPD, LLC, EHT HIA, LLC, EHT FPSJ, LLC, EHT WSAC,
     LLC, EHT CPDCT, LLC, EHT QMLB, LLC, EHT HAN, LLC, EHT DHSLC, LLC, EHT SDTC, LLC, EHT CPDGA,
27 LLC, EHT HHG, LLC, EHT RWH, LLC, EHT Asset Management, LLC, Howard Wu, and Taylor Woods (collectively,
     the “Former Clients”). Because the Debtor is the ultimate 100% owner of the remaining entities that are Former Clients,
28 all work performed by Potter Anderson on behalf of those entities was to and for the benefit of the Debtor.
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 1          B.     The Amended Complaint.

 2          Just like the Original Complaint, Plaintiff’s Amended Complaint asserts five causes of action

 3 (each a “Count” herein and together “Counts”) related to the avoidance of alleged transfers (the

 4 “Transfers” and each a “Transfer”) made before or during the bankruptcy case (the “Bankruptcy

 5 Case”). In Count I, Plaintiff alleges that “during the two-year period preceding April 29, 2023 (the

 6 “Petition Date”), the Debtor made the pre-petition Transfers to or for the benefit of the Defendant”

 7 Am. Compl., ¶ 43, and seeks to avoid the pre-petition Transfers and recover the equivalent value of

 8 the alleged fraudulent transfers. See id., ¶46. In Count II, Plaintiff alleges that Potter Anderson

 9 received pre-petition preferential Transfers on account of antecedent debt owed by the Debtor before

10 such transfers were made. Id., ¶ 50. Plaintiff, in Count III, additionally claims Potter Anderson

11 received a Transfer made after the Petition Date that is avoidable pursuant to 11 U.S.C. § 549. See

12 id., ¶ 58. In Count IV of the Amended Complaint, Plaintiff claims under 11 U.S.C. §§ 550 and 551,

13 she is entitled to recover the Transfers, together with interest at the applicable rate from the date of

14 the Transfers to Potter Anderson. Id., ¶ 63. With Count V of the Amended Complaint, the Plaintiff

15 seeks the disallowance of any and all claims of Potter Anderson against the Debtor pursuant to section

16 502(d). See id., ¶ 65.

17          The Trustee’s Amended Complaint focuses almost exclusively on the fraudulent transfer

18 allegation in Count I. See id., ¶¶ 9-19 and ¶¶ 25-41. Most of the new allegations focus on the alleged

19 insolvency of the Debtor and its subsidiaries as well as the supposed complete lack of value provided

20 to the Debtor by Potter Anderson. There continues to be no assertion of an antecedent debt required

21 to state a preference claim; indeed, the Trustee goes out of her way to allege that not one cent of the

22 nearly $1 million in services provided by Potter Anderson should be payable by the Debtor creating

23 an internal inconsistency within the Amended Complaint. The other stray new assertion related to

24 Count III—that the Trustee did not authorize the $75,000 post-petition—is misleading because that

25 transfer was made six weeks prior to the entry of the order for relief and the appointment of the

26 Trustee on June 24, 202. See id., ¶¶ 8 & 40.

27          One of the Trustee’s primary focuses is her request for evidence of legal services to properly

28 assert her claims. See id., ¶¶ 25 & 27. This argument inappropriately flips the burden on Potter
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 1 Anderson, and, in any event, is baseless because the Trustee was appointed almost two years prior to

 2 the filing of the Original Complaint and should have access to all of the Debtor’s books and records,

 3
     including all of the relevant invoices, which Potter Anderson provided to the Debtor during the course
 4
     of its representation.
 5
                The Trustee has now had two years and through and including November 2023 to conduct
 6
     basic diligence and properly allege each cause of action. Notably, the Trustee submitted no formal
 7

 8 discovery demand to Potter Anderson by way of a 2004 motion or the like. Instead of conducting

 9 her due diligence on the Debtor’s relationship with Potter Anderson, the Trustee filed the bare-bones

10 Original Complaint that merely recited the elements of each alleged count.4

11
                In lieu of competent allegations regarding the legal services indisputably provided by Potter
12
     Anderson to the Debtor, the Trustee’s new allegations simply assert that none of the nearly $1 million
13
     in services were provided to the Debtor directly. Am. Compl. ¶ 33. Instead, the Trustee alleges that
14
     all services were provided exclusively for the benefit of the remaining Former Clients. See id. ¶¶
15
     10, 14 & 32. While the Trustee’s assertion that “the Debtor did not benefit either directly or directly
16
     from the $550,000 payment to the Defendant” is patently and demonstrably false,5 see id., ¶¶ 33 &
17
     34, even assuming that statement is true, as described further below, under governing Delaware law,
18
     wholly-owned subsidiaries exist for the benefit of their parent and any work performed by Potter
19

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     4
     In addition to the Trustee’s access to the Debtor’s books and records, as a prerequisite to Potter Anderson’s
21
   withdrawal as counsel to the Former Clients in the Delaware Bankruptcy Case, the Former Clients agreed that all raw
22 data and documents obtained from the Former Clients shall be preserved and nothing would prevent Everest Discovery
   LLC (the e-discovery company used to process all document productions in the Delaware Bankruptcy Case) from
23 providing copies of those material to any party, “including without limitation the chapter 7 trustee in the chapter 7
   bankruptcy case of Urban Commons LLC.” See Order Granting Motion of Potter Anderson & Corroon LLP for Leave
24 to Withdraw as Counsel to Urban Commons, LLC, its Affiliated Entities, Constellation Hospitality Group, LLC,
   Howard Wu and Taylor Woods [Delaware Docket No. 1043] (the “Withdrawal Order”). Accordingly, the Trustee has
   thousands of additional documents readily accessible by court order.
25
     5
         See Debtors’ Motion, Pursuant to Federal Rule of Bankruptcy Procedure 2004, For Order Authorizing Examination of
26 Taylor Woods, Howard Wu, Urban Commons, LLC, and Current or Former Affiliated Persons and Entities) [Delaware
     Docket 122] & Motion of the Official Committee of Unsecured Creditors for an Order Pursuant to Bankruptcy Rule 2004
27 and Local Bankruptcy Rule 2004-1 Directing the Production of Documents by Urban Commons, LLC, the Master
     Lessees, EHT Asset Management, LLC, Taylor Woods, Howard Wu, and Others [Delaware Docket 936] “(requesting 68
28 categories of document production from Urban Commons).”
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 1 Anderson on behalf of those entities would constitute equivalent value received by the Debtor.

 2 Therefore, the Trustee’s assertion that every dollar paid to Potter Anderson should be clawed back

 3 for lack of reasonably equivalent value cannot be upheld. See id., ¶ 37.

 4              Incredibly, and as an aside, the Trustee continues to assert that Potter Anderson is an LLP

 5 formed in California, Am. Compl. ¶ 20, despite it being made clear in the Original MTD and on the

 6 record at the Hearing that Potter Anderson has been a Delaware entity since 1826, before California

 7 was even a recognized state, and it has never been organized as a California entity at any point since

 8 its formation. Original MTD, Page 13. Nonetheless, as noted in the Original MTD, the assertion is

 9 false and demonstrates the Trustee’s complete lack of basic diligence in asserting the Original

10 Complaint and now the Amended Complaint.

11              Finally, despite the Trustee including updated factual assertions in an attempt to support the

12 fraudulent transfer claim, she did not amend any portion of the Amended Complaint relating to

13 Counts II and III. For convenience of the Court, a redline of the Amended Complaint against the

14 Original Complaint is attached as Exhibit B. Remarkably, despite not otherwise revising or

15 supplementing Count II, the Trustee now admits that the Debtor was party to a retainer agreement

16 with Potter Anderson, which is a fatal admission that all payments made to Potter Anderson by the

17 Debtor were payments in advance and thus not preferential. Am. Compl. ¶¶ 22 & 25.

18              Given the almost non-existent revisions related to Counts II through V, those counts must be

19 dismissed in their entirety without leave to amend for the same reasons granted by this Court in the

20 Original Dismissal Order.

21 III.         LEGAL STANDARD

22              A complaint may be dismissed for failure to state a claim upon which relief can be granted

23 pursuant to Fed. R. Civ. P. 12(b)(6). A motion brought pursuant to Fed. R. Civ. P. 12(b)(6)6

24 challenges the legal sufficiency of the claims asserted in the complaint. A motion is proper where

25 there is either a “lack of a cognizable legal theory,” or “the absence of sufficient facts alleged under

26 a cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988).

27

28   6
         Rule 12(b)(6) is incorporated by Fed. R. Bank. P. 7012.
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 1 The court must accept all factual allegations pleaded in the complaint as true and construe them and

 2 draw all reasonable inferences from them in favor of the nonmoving party. Cahill v. Liberty Mutual

 3 Ins. Co., 80 F.3d 336, 337– 38 (9th Cir. 1996); and Mier v. Owens, 57 F.3d 747, 750 (9th Cir. 1995).

 4          However, the court need not accept as true unreasonable inferences or conclusory legal

 5 allegations cast in the form of factual allegations. See, Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

 6 553–56, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) (“While a complaint attacked by a Rule 12(b)(6)

 7 motion to dismiss does not need detailed factual allegations, a plaintiff’s obligation to provide the

 8 ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic

 9 recitation of the elements of a cause of action will not do”). Thus, a plaintiff’s complaint must

10 “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

11 face.’ . . . A claim has facial plausibility when the plaintiff pleads factual content that allows the court

12 to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

13 Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009); see also Twombly, 550 U.S. at

14 555 (“Factual allegations must be enough to raise the right to relief above the speculative level, on

15 the assumption that all the allegations in the complaint are true (even if doubtful in fact).” (citations

16 omitted)); Moss v. United States Secret Service, 572 F.3d 962, 969 (9th Cir. 2009) (“[F]or a complaint

17 to survive a motion to dismiss, the non-conclusory ‘factual content,’ and reasonable inferences from

18 that content, must be plausibly suggestive of a claim entitling the plaintiff to relief,” citing, Iqbal and

19 Twombly). Thus, a “plaintiff’s obligation to provide the grounds of his entitlement to relief requires

20 more than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

21 not do.” Twombly, 550 U.S. at 555 (citations and quotations omitted).

22          Here, application of these standards mandates dismissal of the Amended Complaint in its

23 entirety. The allegations set forth in the Amended Complaint fall far short of stating a plausible

24 claim for relief. Moreover, as mentioned above, the Trustee had an opportunity to amend the Original

25 Complaint; however, only Count I had supplemental facts asserted with only trivial allegations

26 related to the other Counts. Even with the new allegations, Count I still fails as a matter of law and

27 any granting of further leave to amend the claim would be futile.

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 1              The Amended Complaint does not reveal any new information that was not already

 2 previously stated in connection with the briefing on the Original MTD or at the Hearing and

 3 therefore, the legal issues at hand do not exceed the four corners of the Amended Complaint. All

 4 Counts should be dismissed with prejudice to not waste the Court’s resources and time.

 5 IV.          ARGUMENT

 6              A.       COUNTS II AND III WERE NOT AMENDED, STILL FAIL, AND MUST BE

 7                       DISMISSED.

 8              Neither Counts II (preference claim) and III (unauthorized postpetition transfer) are viable

 9 for the reasons set forth in the Original MTD. See Original MTD, Page 10 (arguing that there were

10 no payments on account of antecedent debt due to the retainer received for anticipated legal services.

11 As Potter Anderson provided services to the Debtor, it drew down on the retainer, and sought

12 replenishment from the Debtor thus, none of the pre-petition payments constitute preferential

13 transfers because they were not payments on account of antecedent debt.).7

14              The only new allegation related to Count III is that the trustee did not approve the allegedly

15 preferential transfer under section 549, but as noted above, that transfer was made a full six weeks

16 prior to the Trustee’s appointment upon the entry of the order for relief. See also Original MTD,

17 Page 1 (arguing Potter Anderson provided services to the Former Clients, including Urban

18 Commons, during the period between the filing of the involuntary petition and entry of the order

19 granting relief (i.e., April 29, 2021 to June 24, 2021, the “Gap Period”) and invoiced the Debtor for

20 these services.). The Amended Complaint did not amend or otherwise supplement those claims with

21 additional factual assertions. That is because there are no factual assertions that can support those

22 claims, and therefore, those claims should be dismissed with prejudice.8

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26   7
       Indeed, in the Amended Complaint, the Trustee acknowledges the “retainer agreement” that Potter Anderson entered
     into with its clients, which further supports the dismissal of the preference claim. Am. Compl. ¶ 22.
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     8
         This defect was placed directly at issue in the briefing on the Original MTD and the Hearing, so the Trustee’s failure to
28 address these pleading defects in the Amended Complaint is dispositive.
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 1          B.      COUNT I MUST BE DISMISSED AS A MATTER OF LAW BECAUSE

 2                  POTTER ANDERSON PROVIDED REASONABLY EQUIVALENT VALUE

 3                  UNDER 11 U.S.C. § 548

 4          Count I of the Amended Complaint seeks to avoid transfers as fraudulent under Section 548.

 5 To avoid transfers as constructively fraudulent pursuant to 11 U.S.C. § 548, the Trustee must show

 6 that it (1) received “less than a reasonably equivalent value in exchange for such transfer” and (2)

 7 “was insolvent on the date that such transfer was made . . . or became insolvent as a result of such

 8 transfer.” 11 U.S.C. § 548(a)(1)(B). Assuming the Debtor was insolvent at the time of the Transfers,

 9 the Trustee cannot demonstrate a lack of reasonably equivalent value.

10                  1.     Services Provided to the Debtor’s Subsidiaries were for the Benefit of the

11                         Debtor.
12
            The Trustee asserts that every dollar should be clawed back for lack of reasonably equivalent
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     value because Potter Anderson was engaged by the Former Clients other than the Debtor, and that
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     the provision of those services did not provide any value to Urban Commons. This argument fails
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     because all services provided to the Former Clients benefitted the Debtor as a matter of governing
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     Delaware law. The Former Clients consist of two of the Debtor’s corporate representatives, Mr. Wu
17
     and Mr. Woods, as well as a number of wholly-owned subsidiaries of the Debtor. Under Delaware
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     law, which applies to all of the Former Clients that are business organizations, wholly-owned
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     subsidiaries exist for the benefit of their parent. Trenwick Am. Litig. Tr. v. Ernst & Young, L.L.P.,
20
     906 A.2d 168, 173 (Del. Ch. 2006), aff’d sub nom. Trenwick Am. Litig. Tr. v. Billett, 931 A.2d 438
21
     (Del. 2007) (“Moreover, the mere fact that the holding corporation caused its wholly-owned
22
     subsidiary to take on more debt to support the holding corporation’s overall business strategy does
23
     not buttress a claim. Wholly-owned subsidiary corporations are expected to operate for the benefit
24
     of their parent corporations; that is why they are created. Parent corporations do not owe such
25
     subsidiaries fiduciary duties. That is established Delaware law.”); Grace Bros. v. UniHolding Corp.,
26
     2000 WL 982401, at *12 (Del. Ch. July 12, 2000) (“It is by no means a novel concept of corporate
27
     law that a wholly-owned subsidiary functions to the benefit of its parent.”); VFB LLC v. Campbell
28
                                                      9                                          MOTION
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 1 Soup Co., 482 F.3d 624, 635 (3d Cir. 2007) (“Directors must act in the best interests of a corporation's

 2 shareholders, but a wholly-owned subsidiary has only one shareholder: the parent. There is only one

 3 substantive interest to be protected, and hence ‘no divided loyalty’ of the subsidiary’s directors and

 4 no need for special scrutiny of their actions.”); Roselink Investors, L.L. C. v. Shenkman, No.

 5 01CIV7176 (MBM), 2004 WL 875262, at *2 (S.D.N.Y. May 19, 2004) (“Under Delaware law, when

 6 one company wholly owns another, the directors of the parent and the subsidiary are obligated to

 7 manage the affairs of the subsidiary in the best interests only of the parent and its shareholders.”);

 8 Anadarko Petro. Corp. v. Panhandle Eastern Corp., 545 A.2d 1171, 1174 (Del. 1988) (“[I]n a parent

 9 and wholly-owned subsidiary context, the directors of the subsidiary are obligated only to manage

10 the affairs of the subsidiary in the best interests of the parent and its shareholders.”).

11          Indeed, “a subsidiary’s directors are obligated to manage the subsidiary with loyalty to its

12 parent, the company’s sole stockholder.” Trenwick, 906 A.2d at 202 (emphasis added); see also

13 Grace Bros. v. UniHolding Corp., 2000 WL 982401 at *12 (Del. Ch.); Sternberg v. O’Neil, 550 A.2d

14 1105, 1124 (Del. 1988). Because the “EHT Entities” exist for the benefit of Urban Commons, any

15 services provided by Potter Anderson to those entities at the request of the management of Urban

16 Commons were provided for the benefit of Urban Commons.

17          Likewise, services provided to representatives of a business entity in their representative

18 capacity are services provided for the benefit of the entity. See Trenwick, 906 A.2d at 174, 202.

19 Therefore, even if legal services were performed for the Debtor’s wholly-owned subsidiaries, as a

20 matter of law, those services benefitted the Debtor parent.

21          The Trustee explicitly asserts in the Amended Complaint that the Former Clients are the

22 Debtor’s wholly-owned subsidiaries. Am. Compl. ¶¶ 10, 14 & 32. Furthermore, the Schedules and

23 Statements prepared and filed by the Trustee in this Bankruptcy Case, of which the Court can take

24 judicial notice, acknowledge under oath, the existence of these wholly owned subsidiaries. See

25 Schedule A, Question 15 [Docket No. 173]. “Facts subject to judicial notice may be considered on

26 a motion to dismiss.” Mullis v. U.S. Bankr. Ct., 828 F.2d 1385, 1388 (9th Cir. 1987).

27          The Trustee also alleges “there was no dollar-for-dollar benefit to the Debtor for the transfers

28 to the Defendants made on behalf of the EHT Entities, EHT Asset Management, LLC, Mr. Woods
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 1 and Mr. Wu.” Am. Compl., ¶ 37. However, the Trustee does not—and indeed cannot—allege that

 2 Mssrs. Wu and Woods were not authorized corporate representatives of the Debtor, nor that legal

 3 advice provided to a business’s representatives in their corporate capacity are not advice provided to

 4 the business. Further, for reasonably equivalent value, courts do not even require a “dollar for dollar”

 5 exchange, only that the value be reasonably equivalent. In re Pringle, 495 B.R. 447, 464 (9th Cir.

 6 BAP 2013); see also In re Fairchild Aircraft Corp., 6 F.3d 1119, 1125–26 (5th Cir. 1993), abrogated

 7 in part on other grounds by In re Dunham, 110 F.3d 286, 286 (5th Cir. 1997) (“Although the

 8 minimum quantum necessary to constitute reasonably equivalent is undecided, it is clear that the

 9 debtor need not collect a dollar-for-dollar equivalent to receive reasonably equivalent value.”).

10          Finally, the question of “reasonably equivalent value” cannot be viewed in hindsight but must

11 be evaluated based on what the parties knew and expected at the time of the transfer. In re

12 Maddalena, 176 B.R. 551, 553 (Bankr. C.D. Cal. 1995); Peltz v. Hatten, 279 B.R. 710, 738 (D. Del.

13 2002) (“When sophisticated parties make reasoned judgments about the value of assets that are

14 supported by then prevailing marketplace values and by the reasonable perceptions about growth,

15 risks, and the market at the time, it is not the place of fraudulent transfer law to reevaluate or question

16 those transactions with the benefit of hindsight.”); In re Sneed, No. 06-10085-B-7, 2008 WL

17 1782375, 7 (Bankr. E.D. Cal. Apr. 18, 2008) (“It would be particularly unfair to consider, by

18 hindsight, subsequent events, . . .” in determining reasonably equivalent value); VFB LLC v.

19 Campbell Soup Co., 482 F.3d 624, 630-631 (3rd Cir. 2007). In other words, a bankruptcy trustee

20 cannot claim a lack of reasonably equivalent value because the transfer ended up being a bad deal.

21 In re El-Atari, 2012 WL 404947, 3 (Bankr. E.D. Va. 2012).

22          Potter Anderson performed services at the direction of the representatives of the Debtor.

23 Although the Trustee now asserts that those services did not provide any value to the Debtor, that

24 position, even if correct, is taken with the benefit of hindsight, and cannot serve as a substitute for

25 the Debtor’s authorized decisionmakers at the time the transfers were made. The Trustee cannot turn

26 to fraudulent transfer law to attempt to hold Potter Anderson liable for business decisions made by

27 the Debtor’s representatives that she disagrees with. Potter Anderson simply performed the work

28 requested by the Debtor’s representatives pursuant to its retainer agreement and was only paid for
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 1 about two-thirds of that work, as reflected in Potter Anderson’s Proof of Claim. Under these

 2 circumstances, the Trustee’s allegations regarding lack of reasonably equivalent value must fail as a

 3 matter of law.

 4                  2.     Reasonably Equivalent Value is Cleary Evident When Due Diligence is

 5                         Conducted.

 6          Count I should be dismissed for the sole legal proposition wholly-owned subsidiaries exist

 7 for the benefit of their parent. This alone refutes the Trustee’s assertion that every dollar should be

 8 clawed back for lack of reasonably equivalent value since there was no dollar-for-dollar benefit to

 9 the Debtor. See id., ¶ 37. However, the Trustee’s continued lack of diligence is made crystal clear

10 through the Trustee presenting little to no analysis of what amounts specifically did not benefit the

11 Debtor and instead makes blanket assertions that all services performed by Potter Anderson in no

12 way indirectly or directly benefitted the Debtor. See id., ¶ 33.

13          Even a cursory review of the docket in the Delaware Bankruptcy Case reveals the

14 unquestioned value provided by Potter Anderson to the Debtor. For example, on January 29, 2021,

15 the EHT Debtors in the Delaware Bankruptcy Case filed a 2004 motion (the “First 2004 Motion”)

16 seeking an examination of “Taylor Woods, Howard Wu, Urban Commons, LLC, and Current or

17 Former Affiliated Persons and Entities” [Delaware Docket No. 122] (emphasis added). In response,

18 Potter Anderson filed a lengthy objection on behalf of the 2004 targets, including Urban Commons

19 [Delaware Docket No. 219], and entered into countless discussions with the EHT Debtors over the

20 appropriateness and scope of the proposed examination. After two hearings and some narrowing of

21 the scope of the 2004 examination, on March 16, 2021, the Court granted the First 2004 Motion

22 requiring production of certain documents within thirty days and production of all other document

23 requests within sixty days. [Delaware Docket No. 376], at ¶ 2. Appendix 1 to the Order reflects that

24 Urban Commons was a direct target of many of the EHT Debtors’ document requests. Thereafter,

25 Potter Anderson was required to review tens of thousands of documents and produce responsive

26 documents related to the EHT Debtors’ requests, at great expense to the Debtor. That process was

27 substantially completed within the required timeframe, but some supplemental requests from the

28 EHT Debtors were completed afterwards. The Former Clients, with the assistance of Potter
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 1 Anderson, substantially complied with the EHT Debtors’ 2004 order in advance of its withdrawal

 2 from its representation of the Former Clients on August 16, 2021 [Delaware Docket No. 1043].

 3           As the first 2004 process was being completed, the official committee of unsecured creditors

 4 in the Delaware Bankruptcy Case (the “Committee”) began informally requesting additional

 5 information and documents that it claimed it did not receive from the EHT Debtors and were not

 6 responsive to the First 2004 Motion. Potter Anderson worked consensually with the Committee to

 7 reduce legal expenses in connection with the Committee’s investigation.                      Nonetheless, the

 8 Committee filed its own 2004 motion (the “Second 2004 Motion” and together with the First 2004

 9 Motion, the “2004 Motions”) directed to “Urban Commons, LLC, the Master Lessees, EHT Asset

10 Management, LLC, Taylor Woods, Howard Wu, and Others” [Delaware Docket No. 936] (emphasis

11 added). As with the First 2004 Motion, the Committee sought documents and information directly

12 from Urban Commons. Potter Anderson met and conferred with the Committee on numerous

13 occasions to narrow the scope of the requests, review and produce responsive documents, and attempt

14 to consensually resolve the matter. Significant work was done by Potter Anderson in response to the

15 Second 2004 Motion, all of which benefitted the Debtor, directly or indirectly.

16           As mentioned in the Original MTD, during the hearing on Potter Anderson’s withdrawal,

17 former Judge Sontchi noted the “excellent work” provided by Potter Anderson during the case, and

18 stated that “there’s no question in my mind” that Potter Anderson met its professional and highly

19 ethical obligations to the Former Clients.9 Former Judge Sontchi further stated: “[Potter Anderson

20 has] acted professionally throughout the case. They’ve won some things, they’ve lost some things

21 and that’s – you know, that’s what we do when we are involved in these cases.” Clearly, former

22 Judge Sontchi believed Potter Anderson provided value and was “certainly worth the price” further

23 underscoring that Potter Anderson provided significant value to Urban Commons and acted

24 appropriately at all times throughout its representation of the Debtor.

25           The Trustee continues to make the assertion that Potter Anderson has not provided proof of

26 legal services, despite requests made by the Trustee. Am. Compl. ¶¶ 25 & 27. However, the Trustee

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     9
28      See generally In re EHT US1, Inc., et al., Case No. 21-10036 (CSS) (Bankr. D. Del.), Aug. 12, 2021, Hr’g Tr.
     56-65 [Delaware Docket No. 1046] attached hereto as Exhibit C.
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 1 was appointed almost two years prior to the filing of the Original Complaint and should have access

 2 to all demanded invoices, as the custodian of the Debtor’s books and records. Section 704(a)(2)

 3 requires the trustee to be accountable for all property received and Fed. R. Bankr. P. 2015 imposes a

 4 duty on a trustee to keep records, make reports, and give notice of a case to persons holding property

 5 of the estate. See Exec. Office for U.S. Trustees, U.S. Dep't of Justice, Handbook for Chapter 7

 6 Trustees, 4–2 (2012), available at https://www.justice.gov/ust/private-trustee-handbooks-reference-

 7 materials/chapter-7-handbooks-reference-materials (“[T]he trustee's primary statutory duties are set

 8 forth in part in section 704 of the Bankruptcy Code and are detailed more thoroughly in other parts

 9 of this Handbook [for Chapter 7 Trustees].”); See also 11 U.S.C. § 704(a)(2); See also Fed. R. Bankr.

10 P. 2015. Section 704(a) requires the trustee to ensure that a debtor surrenders non-exempt property

11 of the estate and turns over books and records to the trustee. See 11 U.S.C. § 704. Indeed, it is the

12 Trustee’s duty to “use reasonable diligence in the discharge of their duty to collect and reduce to

13 money the property of the estates for which they are trustees and to secure possession of all the

14 property and collect debts due.” 6 Collier on Bankruptcy ¶ 704.04 (16th ed. 2023) (emphasis added).

15 Section 704(a)(2) requires the trustee to be accountable for all property received and Bankruptcy

16 Rule 2015 imposes a duty on a trustee to keep records, make reports, and give notice of a case to

17 persons holding property of the estate. See 11 U.S.C. § 704(a)(2); See also Fed. R. Bankr. P. 2015.

18 “Failure to reasonably carry out these fiduciary duties makes a trustee liable for damages.” 6 Collier

19 on Bankruptcy ¶ 704.04 (16th ed. 2023). “If the trustee neglects to bring assets into the estate’s

20 possession, the trustee may be charged with their value. Id. (citing In re Rollins, 32 C.B.C.2d 609,

21 175 B.R. 69 (Bankr. E.D. Cal. 1994)). Finally, the Trustee submitted no discovery demand of Potter

22 Anderson through a 2004 motion or the like during the course of her two plus years prior to or after

23 filing the Original Complaint.10

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     Additionally, the Withdrawal Order in the Delaware Bankruptcy Case states all raw data and documents obtained
   from the Former Clients shall be preserved and nothing would prevent Everest Discovery LLC from providing copies
27 of those material to any party, “including without limitation the chapter 7 trustee in the chapter 7 bankruptcy case of
   Urban Commons LLC.” See Delaware Docket No. 1043. The Order gave the Trustee access to thousands of documents
28 produced throughout the Delaware Bankruptcy Case by the Former Clients with the assistance of Potter Anderson.
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 1          With the Trustee’s statutory obligation, access to the Debtor’s books and records, and two

 2 years of time with litigation tools at her disposal, it is not Potter Anderson’s fault that the Trustee

 3 cannot assert non-conclusory allegations regarding the supposed lack of reasonably equivalent value

 4 in the Amended Complaint. Any attempt to shift the burden to Potter Anderson, a creditor with a

 5 $329,212.95 claim for unpaid legal fees, should be ignored, and Count I should be dismissed on this

 6 separate ground.

 7          C.      PLAINTIFF’S CLAIMS UNDER SECTION 550 AND 551 (COUNT FOUR)

 8                  AND SECTION 502(d) (COUNT FIVE) SHOULD BE DISMISSED, AS

 9                  PLAINTIFF DID NOT ALLEGE AN AVOIDABLE TRANSFER.

10          For the reasons explained above and in the Original Complaint, which is incorporated by

11 reference herein in full, including all factual assertions and legal arguments, Plaintiff’s claims under

12 sections 550 and 551 (Count Four) and section 502(d) of the Bankruptcy Code (Count Five) should

13 also be dismissed. Count II of the Trustee’s Complaint seeks to recover or preserve the alleged

14 transfers for the benefit of the estate, pursuant to sections 550 and 551 of the Bankruptcy Code. Both

15 sections 550 and 551 of the Bankruptcy Code are applicable in this instance only to the extent the

16 transfers are first avoided pursuant to section 548(a)(1)(B) of the Bankruptcy Code. As set forth

17 above, the Amended Complaint, like the Original Complaint, on its face, fails to state a claim

18 pursuant to section 548(a)(1)(B) of the Bankruptcy Code, and must be dismissed. In the absence of

19 an avoided claim, there can be no recovery or preservation for the benefit of the estate. For the reasons

20 set forth above, Counts I through III fail to state a claim upon which relief may be granted, and Count

21 IV must be dismissed for the same reasons.

22          In order to disallow a claim pursuant to section 502(d), the Court must first determine that

23 Potter Anderson is the transferee of an avoidable transfer as alleged in Counts I through III of the

24 Complaint. For the reasons set forth above and in the Original MTD, Counts I through III fail to

25 state a claim upon which relief may be granted and Count V must be dismissed for the same reasons.

26 Moreover, the Trustee chose not to revise, amend, or support any portion of Count Four and Five of

27 the Complaint and should result in dismissal once again.

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 1 V.       THE COURT SHOULD NOT GRANT THE TRUSTEE LEAVE TO AMEND THE

 2          COMPLAINT AGAIN.

 3          Allowing the Trustee to amend the Complaint a second time would give the Trustee a third

 4 bite at the apple, would cause undue prejudice to Potter Anderson, and would be futile. See Rolo v.

 5 City Investing Co. Liquidating Trust, 155 F.3d 644, 655 (3d Cir. 1998) (rejecting proposed second

 6 amended complaint where plaintiffs proposed adding allegations that could have been pled earlier

 7 and finding duration of case and substantial effort and expense in resolving underlying motion to

 8 dismiss could constitute prejudice to defendants).

 9          It is axiomatic that leave to amend should be denied as futile where the proposed claims

10 would not survive a motion to dismiss. That is precisely the case here. No additional legal assertions

11 in the Amended Complaint led to any viable claims against Potter Anderson for fraudulent transfer

12 because, as a matter of law, Potter Anderson provided value to the Debtor well in excess of what it

13 received. Further, despite the benefit of two years with full access to the Debtor’s books and records

14 at her disposal, the detailed Response Letter from Potter Anderson explaining why these claims have

15 no merit, the Original MTD, the Original Reply, the statements on the record at the Hearing, and the

16 additional time granted to amend the Original Complaint, the Trustee chose to only amend the

17 allegations related to Count I and did not meaningfully supplement any allegations related to the

18 other counts.

19          No factual allegations exist to support Count II and III, and thus granting leave to amend

20 would be futile. See Original MTD, Page 10 & 14 (arguing the Trustee cannot assert any of the

21 payments were made on account of antecedent debt because every payment made to Potter Anderson

22 was a retainer payment and that section 547(b) now requires that the trustee satisfy a condition

23 precedent, i.e., reasonable due diligence and consideration of known or knowable affirmative

24 defenses).    See also Original MTD, Page 11 (arguing Potter Anderson provided more than

25 $429,451.29 of services during the Gap Period, which greatly exceeds the lone $75,000 payment

26 sought to be avoided under section 549). The Trustee should be well aware that Counts II and III

27 fail without any additional support but still proceeded with incorporating an exact replica of those

28 allegations in the Amended Complaint. Arguably, the Trustee has conceded those Counts by not
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 1 asserting supplemental allegations in the Amended Complaint. Regardless, because the Trustee

 2 cannot allege any avoidable transfer for the reasons set forth above, she likewise cannot assert any

 3 claim under sections 550, 551 or 502(d), so leave to amend the Complaint with respect to Counts IV

 4 and V would also be futile and not in the interests of justice.

 5          Finally, the Trustee has, in fact, known (or at the very least should have known) years ago,

 6 well before this action was filed—as well as before its prior amendment—the details of the Transfers.

 7 See, e.g., Lieb v. Korangy Pub’g, Inc., 2016, WL 8711195, at *6 (E.D.N.Y. Sept. 30 2016) (denying

 8 leave to amend where movant “knew or should have known” about facts underlying proposed

 9 amendment); Rent-A-Center, Inc. v. 47 Mamaroneck Ave. Corp, 215 F.R.D. 100, 104 (S.D.N.Y.

10 2003) (denying leave to amend where “'substance of defendants’ ‘new’ claim was known when [they]

11 filed their original amended answer and added their counterclaim”). The Original Complaint was

12 lacked any semblance of diligence, but the Amended Complaint does little to remedy that problem.

13 The lack of diligence from the Trustee a second time around is once again best demonstrated by the

14 allegation, again upon information and belief, that Potter Anderson, one of the oldest law firms in

15 the country that has always done business in Delaware, is a California business. Am. Compl., ¶ 20.

16 Not only was it made clear in the Original MTD and on the record at the Hearing, but any simple

17 online search reveals Potter Anderson’s nearly 200-year history as a Delaware law firm. The Court

18 should not reward the Trustee’s lack of diligence by permitting her leave for another attempt to craft

19 a proper fraudulent transfer and preference count well after the statute of limitations would have

20 otherwise run.

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 1 VI.      CONCLUSION

 2          Potter Anderson respectfully requests that all Counts of the Amended Complaint be dismissed

 3 with prejudice and without leave to amend. Potter Anderson further requests that the Court grant it

 4 all costs and fees, including attorneys’ fees in defending this action.

 5                                                    Respectfully submitted,

 6 Dated: January 2, 2023                             GOLDEN GOODRICH LLP

 7

 8                                                    By: /s/ Beth E. Gaschen
                                                          JEFFREY I. GOLDEN
 9                                                        BETH E. GASCHEN
                                                          Attorneys for Defendant
10                                                        Potter Anderson & Corroon LLP

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                            EXHIBIT A
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12                              UNITED STATES BANKRUPTCY COURT

13                               CENTRAL DISTRICT OF CALIFORNIA

14                                     LOS ANGELES DIVISION

15 In re                                             Case No. 2:21-bk-13523-WB

16 URBAN COMMONS, LLC,                               Chapter 7

17                 Debtor.

18
     CAROLYN A. DYE, Chapter 7 Trustee,              Adv. No. 2:23-ap-01292-WB
19
                   Plaintiff,                        ORDER GRANTING POTTER ANDERSON
20                                                   & CORROON LLP’S MOTION TO
                                                     DISMISS AMENDED COMPLAINT
21
     POTTER ANDERSON & CORROON LLP,                  DATE: JANUARY 23, 2023
22                                                   TIME: 2:00 PM (PT)
                   Defendant.                        CTRM: 1375
23

24           Upon consideration of Potter Anderson & Corroon LLP’s Motion to Dismiss Amended
25 Complaint (the “Motion”) filed by the Defendant pursuant to Rule 12(b)(6) of the Federal Rules of

26 Civil Procedure, made applicable herein by Rule 7012(b) of the Federal Rules of Bankruptcy

27 Procedure; and upon consideration of any responses and replies thereto, and the argument of counsel,

28 if any:
                                                     1                                          ORDER

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                                                                        Exhibit A, Page 19
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 1         IT IS ORDERED THAT:

 2         1.      The Motion is granted.

 3         2.      The Causes of Action asserted against the Defendant in the Complaint are

 4 DISMISSED WITH PREJUDICE.

 5         5.      The Court shall retain jurisdiction to hear and determine all matters arising from or

 6 related to the implementation, interpretation, and/or enforcement of this Order.

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                                                      2                                           ORDER



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     Carolyn A. Dye, Chapter 7 Trustee
 6

 7                       UNITED STATES BANKRUPTCY COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9
10                              LOS ANGELES DIVISION
11
12
     In re:                                ))Case No. 2:21-bk-13523 ERWB
13
14   URBAN COMMONS, LLC,                   ))Chapter 7

15                                         ))
16                                           Adv. No. 2:23-ap-01292-WB
     CAROLYN A. DYE, Chapter 7             ))
17   Trustee,                                FIRST AMENDED COMPLAINT FOR (1)
18                                         ))AVOIDANCE AND RECOVERY OF
                  Plaintiff,                 FRAUDULENT TRANSFERS, (2)
19                                         ))AVOIDANCE OF POST-PETITION
20   v.                                      TRANSFER, (3) PRESERVATION OF
                                           ))FRAUDULENT, PREFERENTIAL AND
21                                           POST PETITION TRANSFER
     POTTER ANDERSON & CORROON, LLP        ))TRANSFERS, AND (4) DISALLOWANCE
22
                  Defendant.                 OF CLAIMS
23                                         ))
24
                                           ))
25                                           [11 U.S.C. §§ 105, 502, 544,
26                                         ))547, 548, 549, 550 and 551]

27                                         ))Date: [TO BE SET BY
                                              SUMMONS]January 23, 2024
                                           ))Time: 2:00PM
28                                            Place: Courtroom 15681375
                                            ) Roybal Federal Building
                                              255 E. Temple Street
                                              Los Angeles, CA 90012




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                                                               Exhibit B, Page 22
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 1   TO THE HONORABLE ERNEST M. ROBLESJULIA W. BRAND, UNITED STATES
     BANKRUPTCY
 2

 3    JUDGE:
 4           Plaintiff Carolyn A. Dye the Chapter 7 Trustee (the
            “Plaintiff”) for the bankruptcy estate of Urban Commons,
 5
     LLC avers and complains, by way of this First Amended
 6   Complaint, as follows:

 7
         STATEMENT OF JURISDICTION, NATURE OF PROCEEDING AND VENUE
           1.   In accordance with the requirements of Local
 8
 9   Bankruptcy
10   Bankruptcy Rule 7008-1, the Trustee hereby alleges that the
11   claims for relief in this complaint constitute core proceedings
12   under 28 U.S.C. § 157(b)(2)(A), (B), (F), (K), and (O) and are
13   related to the Debtor’s bankruptcy case because the outcome of
14   such claims for relief could have a significant effect on the
15   estate. Regardless of the core or non-core nature of the claims
16   for relief asserted herein, the Trustee consents to the entry of
17   final orders and judgment by the Bankruptcy Court to the maximum
18   extent permitted by applicable law. Defendant Potter Anderson &
19   Corroon, LLP (“Defendant”) is hereby notified that Federal Rules
20   of Bankruptcy Procedure (“FRBP”) 7008 and 7012(b) require the
21   defendant to plead whether each claim for relief asserted
22   against the defendant is core or non-core and, if non-core,
23   whether consent is given to the entry of final orders and
24   judgment by the Bankruptcy Court.
25         2.     This Court has jurisdiction over this adversary
26   proceeding
27   proceeding pursuant to 28 U.S.C. §§ 151, 157, and 1334.
           3.     This adversary proceeding is brought pursuant to Rule
28   7001, et seq. of the FRBP and 11 U.S.C. §§ 105, 502, 544, 547,
     548, 549, 550 and 551 and Local Rules and Orders of the United
     States District Court for the Central District of California




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                                                               Exhibit B, Page 23
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 2
     governing the reference and conduct of proceedings arising under
 3

 4    or related to cases under Title 11 of the United States Code,
     including General Order No. 13-05, dated July 1, 2013.
 5
            4.    Venue in this Court is proper pursuant to 28 U.S.C. §
 6   1409
     1409 as this adversary proceeding arises under and in connection
 7
     with In re Urban Commons, LLC a chapter 7 bankruptcy case
 8   pending in the United States Bankruptcy Court, Central District,
 9
     Los Angeles Division (the “Court”) as Case No. 2:21-bk-13523 ER
10
     (the “Bankruptcy Case”).
11
12         5.  Plaintiff consents to entry of final orders or
13   judgment by
           the Court.
14
15
                        RELEVANT BACKGROUND, PARTIES, AND
16
17                 ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF
18         6.   The Bankruptcy Case was initiated by the filing of an
19   Involuntary Petition against Urban Commons, LLC (“Debtor”)
20   on April 29, 2021 (the “Petition Date”).
21          7.    On June 24, 2021, the Order for Relief was entered in
22   this case.
23          8.    On June 24, 2021, the United States Trustee appointed
24   Carolyn A. Dye, as the Chapter 7 Trustee.
25          9.    As the trustee of the Debtor’s bankruptcy estate the
26   Plaintiff is charged with recovering and paying out estate
27   property to the Debtor’s creditors, assessing claims, and
     liquidating any other assets of the Debtor for the benefit of
28   the estate and its creditors. The Plaintiff is in the process
     of marshalling the Debtor’s assets, and the liquidation of
     Debtor’s. However, such assets will not be sufficient to
     reimburse the creditors of the Debtor for the over




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     $100,000,00.00 of dollars in prepetition unsecured claims.
 1
     Consequently, the Trustee must use her broad authority
 2   Bankruptcy Code to pursue recovery for the Debtor’s creditors.
           10. Based upon the Plaintiff’s ongoing investigation as
 3
     the Debtor’s chapter 7 Trustee it now appears that the Debtor
 4   was insolvent at all times from its inception until the time
 5   of its bankruptcy filing. It is also apparent that neither the
     Debtor, nor its subsidiaries or affiliates had any significant
 6
     income from business operations and that the source of their
 7   income was from loans and money received from investors.
           11. The Debtor’s books and records also reveal that the
 8
 9   Debtor was not paying is debts as they came due, it was many
10   months behind on its loan payments, rent payments, payments to
11   its vendors and its attorneys which is further evidenced by
12   the numerous prepetition lawsuits and judgments entered
13   against the Debtor.
14         12. The Plaintiff’s review of the Debtor’s books and
15   records and investigation of the Debtor’s prepetition financial
16   condition revealed that at all times relevant to this Complaint
17   and in particular for the periods ending 12/31/18, 12/31/19,
18   04/30/20, and 11/11/21 and in particular the balance sheets for
19   those periods show that the Debtor's liabilities exceeded its
20   assets and thus was insolvent. For the period ending 12/31/19
21   the Debtor's total assets were $72,776,886 and its total
22   liabilities were $82,685,449. For the period ending 12/31/2018
23   the Debtor's Total Assets were $15,285,972 and its Total
24   Liabilities were $16,612,049. The Plaintiff’s review of the
25   Debtor’s books and records reveal that by the time of the
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     petition date in the Debtor’s case, the Debtor’s liabilities
 1
     exceeded its assets by nearly $30,000,000.00.
 2         13. The Plaintiff’s investigation of the Debtor’s assets
     further revealed that the Debtor was the managing member,
 3
     member, and sometimes both the managing member and member of
 4   various limited liability companies.
 5         14. In particular, the Plaintiff learned the Debtor was the
     sole managing member of EHT Asset Management, LLC (“EHT LLC”)
 6
     and that in turn EHT Asset Management LLC was the sole and
 7   managing member of at least 18 other limited liability companies
     called EHT HIDH, LLC; EHT ESAN, LLC; EHT RDH, LL; EHT HISM, LLC;
 8
 9   EHT HIOR, LLC; EHT SPH, LLC; EHT ESPD, LLC; EHT HIA, LLC; EHT
10   FPSJ, LLC; EHT WSAC, LLC; EHT CPDCT, LLC; EHT QMLB, LLC; EHT
11   HAN, LLC; EHT DHSLC, LLC; EHT SDTC, LLC; EHT CPDGA, LLC; EHT
12   HHG,LLC; and EHT RWH, LLC (“EHT Entities”).
13         15. Like the financial condition of the Debtor, the
14   Plaintiff and the Plaintiff’s accountants’ review of the books
15   and records of the EHT Entities show that at all times relevant
16   to the claims in this Amended Complaint the EHT Entities were
17   insolvent both individually and also when consolidated under
18   their sole managing member EHT Asset Management, LLC.
19         16. The Plaintiff’s investigation of the financial
20   condition of the EHT Entities evidence that at the time the
21   Debtor made the transfers described below to the Defendant the
22   EHT Entities, EHT Asset Management, LLC and the Debtor were
23   all insolvent.
24
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                                                                Exhibit B, Page 26
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           9. 17.Plaintiff brings this action solely in her capacity
      as chapter 7 trustee for the Debtor’s estate and its respective
 1    creditors. To the extent that Plaintiff hereby asserts
 2    claims under 11 U.S.C. § 544(b), Plaintiff is informed and
 2
 3    believes, and on that basis alleges thereon, that there exists
 3
 4    in this case one or more creditors holding unsecured claims
  5
  4   allowable under 11 U.S.C. § 502, or that are not allowable
  6   only under 11 U.S.C. § 502(e) who could have avoided the
  5
  7   respective
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                                                            Exhibit B, Page 27
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 transfers or obligations under California or other applicable
law before the Petition Date.

   10.       18. Plaintiff was appointed as chapter 7 trustee after
  the
         Petition Date.

   11.       As a result, Plaintiff does not have personal

19. As a result, Plaintiff does not have personal knowledge of
the facts alleged in this Complaint that occurred

 prior to her appointment and, therefore, alleges all
thosecertain facts on information and belief. Plaintiff reserves
the right to amend this Complaint to allege additional claims
against defendants

 and to challenge and recover transfers made to or for the and
to challenge and recover transfers made to or for the
     benefit of defendants in addition to those transfers
alleged in this Amended Complaint.

          DEBTOR FRAUDULENTLY TRANSFERRED $550,000.00 TO OR

          FOR THE BENEFIT OF POTTER ANDERSON & CORROON, LLC

   12.     20. The Trustee is informed and believes and based
  thereon
       alleges that Defendant Potter Anderson & Corroon, LLP
(“Defendant”) is a limited liability partnership formed in
California that did business in this state and is subject to
the jurisdiction of this Court. At all relevant times, the




21. At all relevant times, the Defendant was the initial
transferee of the transfers alleged herein or was the party for
whose benefit the transfers were

 made and/or an immediate or mediate transferee of such initial
made and/or an immediate or mediate transferee of such initial


     transferee.

   13.    With respect to the Defendant, during the ninety-day
     22. In August 2021, or earlier, the Plaintiff learned that
on or about February 2, 2021, the Debtor, EHT Asset Management,

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                                                         Exhibit B, Page 28
LLC, 2:23-ap-01292-WB
Case  the EHT Entities,
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(“Retaining Parties”) entered into a retainer agreement with
the Defendant to provide legal services to them in the
bankruptcy case of EHT US1, Inc. case no. 21-10036 CSS pending
in the United States Bankruptcy Court for the District of
Delaware (“Delaware Case”).

23. With respect to the Defendant, during the ninety-day period
prior to the Petition Date, the Debtor made transfers of
      the Debtor’s property in the form of approximately 10
payments to Defendant during the 90-day period prior to the
Petition Date in the total aggregate amount of $475,000.00
(collectively, the “Pre-petition Transfers”). See Exhibit “1”
attached hereto.




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                                                       Exhibit B, Page 29
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 2
        14.      With respect to the Defendant, after the Petition
 3
     24. With respect to the Defendant, after the Petition Date, the
 4   Debtor made approximately 1 payment to the Defendant
           in the total aggregate amount of $75,000.00
 5   (“Post-Petition Transfer”). See Exhibit “1” attached hereto.
           25. Prior to the filing of this lawsuit, the Plaintiff
 6
     demanded from Defendant that it provide Plaintiff with proof of
 7   the legal services it had provided or performed for the Debtor
 8   and or invoices, or other information that would evidence the
 9   legal services the Debtor received in exchange for the $550,000
10   in Pre and Post Petition Transfers. Other than providing a copy
11
12
13
     of the retainer agreement between the Defendant and the
14
     Retaining Parties, the Defendant did not provide any proof of
15
     legal work or other services that it might have provided to
16
     the Debtor or legal work that benefitted the Debtor, even
17
     indirectly, in exchange for the $550,000.00.
18
           26. Prior to the filing of this lawsuit, the Plaintiff
19
     demanded that as the Trustee of the Debtor and the rightful
20
     holder of the Debtor’s attorney-client privilege with the
21
     Defendant and as the managing member of EHT Asset Management,
22
     LLC and the EHT Entities the Defendant turnover to her all the
23
     Debtor’s legal files, the legal files of EHT Asset Management,
24
     LLC and the EHT Entities and communications between the
25
     Debtor, EHT Asset Management, LLC and the EHT Entities.
26
           27. Notwithstanding Defendant’s assertions that it had been
27
     hired by the Retaining Parties, Defendant refused to turnover
     any of the legal files or provide any copies of invoices or
28
     documentation evidencing the legal work performed for the Debtor
     or any other of the Retaining Parties. Defendant further failed
     to provide any proof that the Defendant performed any legal work
     or services that either directly or indirectly benefited the
     Debtor in exchange for the $550,000.00.


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                                                                Exhibit B, Page 30
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      28. Prior to the filing of this lawsuit, the Plaintiff
learned that the Defendant had filed approximately 25 adversary
cases (“Delaware Adversary Cases”) in the Delaware Case on
behalf of the EHT Entities and other entities. No adversary
case was filed for the Debtor, nor does it appear from the
docket in the Delaware Case that the Defendant performed any
legal services for the Debtor in the Delaware Case.



      29. The Plaintiff reviewed the dockets in the 25 Delaware
Adversary Cases and determined that:
         a. The plaintiffs in the Delaware Adversary Cases were
              the EHT Entities and were filed on behalf of the EHT
              Entities;
         b. But for different plaintiffs, all the Delaware
              Adversary Cases were the same complaint and alleged
              the same causes of action, namely, Complaint For (I)
              Breach Of Lease, (Ii) Breach Of Omnibus Assignment And
              Assumption Of Contracts And Other Obligations And
              Assets Agreement, And (Iii) Unjust Enrichment;
         c.    None     of   the   Delaware   Adversary   Cases   name   the
              Debtor as a plaintiff;
         d. The Delaware Adversary cases were ultimately
              all dismissed;
         e. The Plaintiff’s review of the docket in the Delaware
              Adversary Case evidence that all of the cases were
              dismissed;
         f. A review of the Debtor’s books and records and those
              of the Debtor, EHT Asset Management LLC and the EHT
              Entities does not disclose any financial benefit to
              the Debtor or any of the other Retaining Parties
              through a settlement or other financial gain for the
              Debtor;
      30. The Plaintiff asserts and alleges that at the time of
the $550,000.00 payment to the Defendant of the Pre and Post
Petition Transfers to the Defendant, the Debtor, EHT Asset
Management LLC and the EHT Entities were all insolvent.



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                                                             Exhibit B, Page 31
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      31. The Plaintiff asserts and alleges that the Debtor
received no reasonably equivalent value in exchange for the
$550,000.00 to the Defendant. The $550,000 payment was for the
benefit of persons and entities other than the Debtor.
      32. The Plaintiff asserts and alleges that when the Debtor
made the $550,000.00 to the Defendant on behalf of its
subsidiaries and or affiliates all those entities and persons
were insolvent, therefore any equity that the Debtor might hold
in those entities had no value and therefore the payment of the
$550,000.00 did not benefit the Debtor or the Debtor’s
creditors.
      33. Plaintiff asserts and alleges that the Debtor did not
benefit either directly or indirectly from the $550,000 payment
to the Defendant in that it did not receive any good or service
in exchange for the $550,000 payment to the Defendant.
      34. Plaintiff asserts and alleges that the $550,000 payment
to the Defendant only benefited third parties therefore there
was no reasonably equivalent value received by the Debtor.
      35. The Plaintiff asserts and alleges that the Debtor
received no reasonably equivalent value in exchange for $550,000
paid to the Defendant on behalf of the EHT Entities, EHT Asset
Management, LLC, Mr. Woods and Mr. Wu.
      36. The Plaintiff asserts and alleges that there is a
presumption under Ninth Circuit authority that the Debtor’s
transfers to Defendant that benefited EHT Entities, EHT Asset
Management, LLC, Mr. Woods and Mr. Wu are "of nominal value" to
the Debtor, unless there is contrary evidence proving that some
"clear and tangible benefit" accrued to the Debtor. The benefit




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     to the Debtor must conform to the Ninth Circuit's holding that
 1
     "any consideration not involving utility for the creditors [of
 2   the debtor]" is not value.
             37. The Plaintiff further alleges and asserts that there
 3
     was no dollar-for-dollar benefit to the Debtor for the transfers
 4   to the Defendants made on behalf of the EHT Entities, EHT Asset
 5   Management, LLC, Mr. Woods and Mr. Wu.
             38. The Plaintiff further alleges and asserts that the
 6
     Plaintiff has not discovered any evidence that the transfer of
 7   the $550,000 to the Defendant resulted in any benefit to the
     Debtor, its estate and creditors and therefore the $550,000.00
 8
 9   is avoidable.
10           39. Based on the foregoing, the Defendant asserted a claim
11   in the Debtor’s case on account of prepetition debts owed to it
12   by the Debtor. The Plaintiff asserts and alleges that the
13   $550,000.00 to the Defendant was applied in full or in part to
14   the prepetition debts allegedly owed to the Defendant.
15           40. The Plaintiff as the Trustee of the Debtor’s case did
16   not authorize nor did the Court authorize the $75,000.00 post
17   petition transfer to the Defendant and it is therefore
18   avoidable.
19           41. The Plaintiff asserts and alleges that there are
20   presently insufficient funds in the Debtor’s estate to pay the
21   Debtor’s prepetition claims in excess of $100,000,000.00 and
22   therefore the monies received by the Defendant allowed it to
23   receive more than it would have received pursuant to the
24   priority scheme of the Bankruptcy Code.
25
26   / / /
27

28




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                                                                Exhibit B, Page 33
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 1                           FIRST CLAIM FOR RELIEF
                (Avoidance and Recovery of Pre-Petition Transfers
 2                      Pursuant to U.S.C. §§ 548(a)(1)(B) and 550)
 3                15.    42. Plaintiff realleges and incorporates
     herein by
 4   reference each and every allegation contained in paragraphs
 5   1 through 1441 as though set forth in full.
                  16.    43. Plaintiff is informed and believes, and on
 6
     that basis
 7   alleges thereon, that during the two-year period preceding the

 8   Petition Date, the Debtor made the Pre-Petition Transfers to
 9   or for the benefit of the Defendant.
10                17.    44. Plaintiff is informed and believes, and on
11   that basis
12   alleges thereon, that Debtor received less than a reasonably
13   equivalent value in exchange for the Pre-Petition Transfers, and
14   (a) the Debtor was insolvent on the date that such transfers
15   were made or became insolvent as a result of such transfers, (b)
16   the Debtor was engaged in business or a transaction, or was
17   about to engage in business or a transaction, for which any
18   remaining property remaining with Debtor was an unreasonably
19   small capital, or (c) the Debtor intended to incur, or believed
20   that it would incur, debts that would be beyond its ability to
21   pay as such debts matured.
22      18.       45. Plaintiff is informed and believes, and based
23   thereon
24   alleges thereon that, at all relevant times, the Pre-Petition
25   Transfers were voidable under 11 U.S.C. § 544(b) by one or more
26
27
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              creditors who held and hold unsecured claims against the
     Debtor that were and are allowable under 11 U.S.C. § 502, or
     that were and are not allowable only under 11 U.S.C. § 502(e).
     These



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                                                                Exhibit B, Page 34
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                           Main creditors
     creditors include those    Document who
                                           Pageare
                                                41 oflisted
                                                      100   in the Debtor’s


      schedules as holding undisputed claims or who have filed proofs
 1
     of claim against the Debtor’s estate.
 2
         19. Plaintiff is informed and believes, and on that basis
 3
     46. Plaintiff is informed and believes, and on that basis
 4   alleges thereon, that, based on the foregoing, Plaintiff may
           avoid the Pre-Petition Transfers and recover the
 5
     equivalent value of said fraudulent transfers for the benefit
 6   of the Debtor’s estate from Defendant pursuant to 11 U.S.C. §§
     544(b) and 550.
 7

 8                          SECOND CLAIM FOR RELIEF
 9
            [For Avoidance Of Preferential Transfer – 11 U.S.C § 547]
10                20. 47. Plaintiff re-alleges and incorporates by
11   this
12   reference each and every allegation set forth in paragraphs
13   1 through 1946, inclusive, as though fully set forth herein.
14               21.   48. Plaintiff is informed and believes and
15   based thereon
16   alleges that the Pre-Petition Transfers were a transfer of an
17   interest of the Debtor in property.
18               22.   49. Plaintiff is informed and believes and
19   based thereon
20   alleges that the Pre-Petition Transfers were made to or for
21   the benefit of Defendant at a time in which Defendant was
22   creditor of the Debtor.
23               23.   50. Plaintiff is informed and believes and
24   based thereon
25   alleges that the Pre-Petition Transfers were made for or on
26   account of antecedent debt owed by Debtor before such
27   transfers were made.

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                                                            Exhibit B, Page 35
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   24.     51. Plaintiff is informed and believes and based
thereon
       alleges that the Pre-Petition Transfers were made while
Debtor was insolvent.




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                                                           Exhibit B, Page 36
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        25.                Main Document
                 52. Plaintiff  is informedPage
                                              and43believes
                                                    of 100   and based
     thereon


 1            alleges that the Pre-Petition Transfers were made on or
 2   within 90 days before the Petition Date.

 3      26.     53. Plaintiff is informed and believes and based
     thereon
 4          alleges that the Pre-Petition Transfers enabled
     Defendant to receive more than Defendant would otherwise
 5
     receive if (a) the Debtor’s bankruptcy case was a case under
 6   chapter 7 of the Bankruptcy Code; (b) the Pre-Petition
 7   Transfers had not been made; and (c) Defendant received
     payment of such debt to the extent provided by the provisions
 8
 9   of the Bankruptcy Code.
10
        27.       Based on her reasonable due diligence in the
11
12   54. Based on her reasonable due diligence in the circumstances of
     the case and taking into account Defendant’s
13         known or reasonably knowable affirmative defenses,
14   Plaintiff may avoid the Pre-Petition Transfers pursuant to 11
15   U.S.C. § 547(b).
16
17      28.       55. Plaintiff is entitled to an order and judgment
     under
18            11 U.S.C. § 547 that the Pre-Petition Transfers are
19   avoided and recovered for the benefit of the Debtor’s
20   creditors.
21
22                             THIRD CLAIM FOR RELIEF
23
         [For Avoidance Of Post-Petition Transfer – 11 U.S.C § 549]
24             29. 56. Plaintiff realleges and incorporates
25   herein by this
26   reference the foregoing paragraphs 1 through 2855 of this
27   Complaint, as though fully set forth herein.
                  30.   57. Plaintiff is informed and believes, and
28   based thereon
     alleges that the Post-Petition Transfer was a transfer of an
     interest of the Debtor in property.




                                        --
                                                             Exhibit B, Page 37
Case 2:23-ap-01292-WB Doc 24 Filed 11/30/23 Entered 11/30/23 22:25:23 Desc
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   31.     58. Plaintiff is informed and believes, and based
thereon
       alleges that the Post-Petition Transfer was made after
the Petition Date.




                                     --
                                                           Exhibit B, Page 38
     Case 2:23-ap-01292-WB Doc 25 Filed 01/02/24 Entered 01/02/24 18:43:10   Desc
        32.      59. Plaintiff  is informed
                           Main Document      and45believes,
                                           Page     of 100    and based
     thereon


 1            alleges that the Post-Petition Transfer was not
     authorized under the Bankruptcy Code or by the Court.
 2
        33.       60. Plaintiff is entitled to an order and judgment
 3   under
              11 U.S.C. § 549 that the Post-Petition Transfer is
 4   avoided and recovered for the benefit of the Debtor’s
 5   creditors 11 U.S.C. § 549(a).

 6                           FOURTH CLAIM FOR RELIEF
 7                 [For Recovery and Preservation Of Transfer
 8                           11 U.S.C. §§ 550 and 551]
 9                34.   61. Plaintiff realleges and incorporates
10   herein by
11   reference the allegations in paragraphs 1 through 3360 of
12   this Complaint, inclusive, as though fully set forth herein.
13                35.   62. Plaintiff is informed and believes, and
14   based thereon
15   alleges that Defendant is the initial transferee of the
16   Pre-Petition Transfers and the Post-Petition Transfers, and to
17   the extent it was not the initial transferee, it was the
18   immediate or mediate transferee of the initial transferee of
19   the Pre-Petition Transfers and Post-Petition Transfers.
20      3663. Upon avoidance of the Pre-Petition Transfers and
21   Post-Petition Transfers, as alleged herein, Plaintiff is
22   entitled to recover the Pre-Petition Transfers and
23   Post-Petition Transfers, together with interest at the
24   applicable rate from the date of the Pre-Petition Transfers and
25   Post-Petition Transfers from Defendant as the initial
26   transferee, the immediate or mediate
27            transferee of such initial transferee, or as the entity
     for
28




                                        --
                                                             Exhibit B, Page 39
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 1
     transferee of such initial transferee, or as the entity for
 2        whose benefit the Two-Year Transfers and Preferential
     Transfer
 3

 4

 5
     were made, pursuant to 11 U.S.C. § 550 and to preserve them
 6
     pursuant to 11 U.S.C. § 551.
 7
                              FIFTH CLAIM FOR RELIEF
 8
 9                [For Disallowance of Claim - 11 U.S.C. § 502]
10                37. 64. Plaintiff realleges and incorporates herein
11   by this
12   reference the foregoing allegations in paragraphs 1 through
13   4063 of this Complaint, inclusive, as though fully set forth
14   herein.
15                38.   65. The Pre-Petition Transfers and Post-Petition
16   TransferssTransfers are recoverable from Defendant pursuant to
17   11 U.S.C. §550, and Defendant has not paid the amount of the
18   Pre-Petition Transfers and Post-Petition Transfers to the
19   Plaintiff.
20                39.   66. Based on the foregoing, any and all claims
21   of the
22   Defendant against the Debtor must be disallowed pursuant to
23   11 U.S.C. § 502(d).
24
                           RESERVATION OF RIGHTS
25
          4067. Plaintiff reserves the right to amend this Complaint
26
     to include, among other things, (i) further information
27
     regarding the Two-Year Transfers and Preferential Transfers,
     (ii) additional transfers, (iii) modifications of and revisions
28
     to Defendant’s name, (iv) additional defendants, and (v)
     additional claims for relief, that may become known to
     Plaintiff at any time during this adversary proceeding through
     formal discovery or otherwise, and for the amendments to relate
     back to this Complaint.


                                        --
                                                             Exhibit B, Page 40
      4168. PlaintiffDoc
Case 2:23-ap-01292-WB    reserves    the right
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                                                               all other
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claims for relief that Plaintiff may have against the
Defendant, on any




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           and all grounds, as allowed under the law or in equity.
 1   Additionally, nothing contained in this Complaint shall be

 2

 3   construed as a waiver of Plaintiff’s right to object to any
 4
      proof of claim filed by the Defendant. Accordingly,
 5
     Plaintiff reserves the right to object, on any and all
 6   grounds, to any proof of claim filed by the Defendant.

 7                                PRAYER FOR RELIEF
 8        WHEREFORE, the Plaintiff prays for judgment as follows:
 9        A. On the First, Second and Third Claims for Relief: A
10   judgment in favor of Plaintiff and against Defendant (1)
11   avoiding the Pre-Petition Transfers and Post-Petition
12   Transfers, (2) entitling Plaintiff to recover from Defendant
13   the Pre-Petition Transfers and Post-Petition Transfers or the
14   value thereof, for the benefit of the estate, and (3) entitling
15   Plaintiff to recover from Defendant attorneys’ fees and
16   expenses incurred in connection with the claims asserted herein
17   to the extent allowable under applicable law;
18        B. On the Fourth Claim for Relief: A judgment that
19   Plaintiff is entitled to recover and preserve the
20   Pre-Petition Transfers and Post-Petition Transfers, or the
21   value thereof, from Defendant under 11 U.S.C. §§ 550 and 551;
22        C. On the Fifth Claim for Relief: A judgment in favor of
23   Plaintiff and against Defendant disallowing any and all
24   claims of the Defendant against Debtor;
25
26   //////////////////
27

28




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                                                              Exhibit B, Page 42
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 2
           D. On All Claims for Relief: For such other and further
 3
     relief as the Court deems just and proper.
 4

 5   DATED: June 20November 30, 2023           PEÑA & SOMA, APC
 6
                                         By: /s/ Leonard Peña
 7                                            LEONARD PEÑA
                                              JULIE A. SOMA
 8                                            Attorneys for Plaintiff
 9                                            Carolyn A. Dye,
10                                            Chapter 7 Trustee
11
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                 EXHIBIT “1”
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                                                            Exhibit B, Page 44
                 Case2:23-ap-01292-WB
                Case  2:23-ap-01292-WB    Doc25
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XXH1928DPCSTM




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              Case2:23-ap-01292-WB
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XX81928DPCSTM        01312108003171231 Main Document
                                       Main Document      Page  52 of 100
                                                           Page 13 of 20
                                                         ACCOUNT STATEMENT ?age
                                                          6 of 7 STARTING DATE:
  135 N. Los Robles Ave., 6TH                           January 01, 2021 ENDING
  FL. Pasadena, CA. 91101                                DATE: January 31, 2021
                                                        Total days in statement
           URBAN COMMONS LLC                             period: 31 80-03171231
                                                                                    2)


                                                       A C C O U N    T   S   T A   T E M E   N T   P   a g e     6
                                                                 o    f   7     S   T A R T   I N G     D A T E   :
  135 N. Los Robles Ave., 6TH                            J a n u a    r y     0 1   ,   2 0   2 1   E   N D I N   G
  FL. Pasadena, CA. 91101                                  D A T E    :   J   a n   u a r y     3 1 ,     2 0 2   1
                                                         T o t a l      d a   y s     i n     s t a t   e m e n   t
           URBAN COMMONS LLC                               p e r i    o d :     3   1   8 0   - 0 3 1   7 1 2 3   1
                                                                                                              2   )




                       GRUBHUBVERSAILLESC USA GRUBHUB C NY
                       4490950001142046 SEQ U 102228713-186
 01-25 POS Purchase    MERCHANT PURCHASE TERMINAL 449215
                       GRUBHUBGENWAXOREAN BBQ GRUBHUB C NY
                       4490950001142046 S£Q 0 102328715557
 01-25 Tesla 13 AGNT PYMNT 210125
       Preauth Debit
       Preauth Debit
 01-25 WELLS FARGO CARD RESERVE 210125
 01-26 DTO ACC 06003171346
       Onln Bkg Trfn

 01-26  DTO ACC 08003050575
      Onln Bkg Trfn
 01-26 REP CF MBFS D000007852 210126 Preauth
                                GRUBHUBBBQBILL GRUBHUB C NY
                        4490950001142046 SEQ 0 102626715764
 01-27 Preauth Debit    BANK OF AMERICA QRMT Pymt 210126 URBAN COMM

01-28 Outgoing Wire    Mick Management In c.
01-26 Onln Bkg Trfn    DTO ACC 08003171348
01-28 Onin Bkg Trfn    DTO ACC 08003171346
01-26 Onin Bkg Trfn    DTO ACC 08003171346
01-26 Onln Bkg Trfn    DTO ACC 08003050575
01-28 Onln Bkg Trfn    DTO ACC 06003050575
01-29 Outgoing Wire    Brian Thomas De Ma rco
01-29 Outgoing Wire    Potter Anderson 4 Corroon LLP
01-29 Onln Bkg Trfn    DTO ACC 08003050575
01-29 Onln Bkg Trfn    DTO ACC 08003086439
                       MERCHANT PURCHASE TERMINAL 449215
                       GRUBHUBNORTHERNCAF ECH GRUBHUB C NY




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                   2:23-ap-01292-WBDoc
XXH1928DPCSTM Case 2:23-ap-012         1 Filed
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                                                                        Page 14 of
                                                                                of 100
                                                                                   20
                                                                          ACCOUNT STATEMENT
 135 N. Los Robles Ave., 6TH                             Page 2 of 6 STARTING DATE:
 FL.Pasadena, CA. 91101                              February 01, 2021 ENDING DATE:
                                                       February 28, 2021 Total days
            URBAN COMMONS LLC                                 in statement period:        a
                                                                          80-03171237
                                                                                   {I)
 Humber         Date      Transaction Description          Descripti     Additions Control Numbe:
                02-16 Deposit            TLR 606 BR 8006   on          10,000.00 02130060612532",
Date Transaction02-17 Onin Bkg Trft C FR ACC 06003121178                 2,000.00 012000217125715
                                                                     Subtractions  Control Number
Description 02-17 Onin Bkg Trft C FR ACC 08003121178                    10,000.00 012000217155835
                                                                        4,000.00 012000121160314
 01-2i Onln aka    TrfnOnln Bkg Trft C FR ACC 08003121176
                02-17                                                   14,000.00 012000121154858
                                                                       32,000.00  012000217123643
       DTO ACC02-17 Deposit                                             22,538.68 012000121163606
                                                                       33,000.00  000007054120520
       06003086439
                02-19 Onln Bkg Trft C FR ACC 08003121178                   100.00 000000000006976
                                                                       11,000.00  012000219162114
01-21 Onln Bkg02-19
                  Trfn Onln Bkg Trft C FR ACC 08003121178                5,000.00 012000219114723
                                                                          400.00 012000122122533
DTO ACC         02-22 Onln Bkg Trft C FR ACC 08003050575                   600.00 091000014202244
                                                                        5,964.91  012000222112418
0800317134601-2102-22 Onin Bkg Trft C FR ACC 08003171264                 3,600.00 000000000008559
                                                                        1,000.00  012000222112224
Onln Ekg Trfn 02-26
                 DTO Wire Trans-IN       TAYLOR R WOODS                 20,000.00 000000000009678
                                                                        5,000.00 000000000010744
ACC                                                                     1,000.00 012000125122211
0800305057501-22                                                        1,000.00 012000125170701
 CHECKS Wire Nick
Outgoing
 Number
Management   in        Date                   Amount                          Control
 104
c.01-22  OnlnOnin      02-16                2,000.00                000009267890480
                                                                             227.74 000007134860000
Bkg Trfn DTO ACC
0800317136301-22
Preauth
 DEBITS Debit AMEX                                                                      304.65304.85
EPAYMENT  ACH PMT
 Date Transaction      Description                                         000007155570000
                                                                      Subtractions  Control 1,746.54
                                                                                             Number
21012201-25
 02-01 Outgoing Wire Potter Anderson L Corroon LLP                        0410010394948600410010394
                                                                         25,000.00  000000000009542
Outgoing
 02-01 POSWire
            Purchase MERCHANT PURCHASE TERMINAL 449215                                94880 2,011.00
Taylor Woods01-25        GRUBHUBHAIDILAOHOT POT GRUBHUB C NY              0910000112668080910000112
Outgoing Wire            4490950001142046 SEQ 8 103028719068                          86808 7,000.00
                                                                              92.77 00000719068000C
Howard  Wu01-25
 02-02 ?OS        Onln MERCHANT PURCHASE TERMINAL 469216 AMEN Mktp
             Purchase                                                     000000000008057 15,000.00
Bkg Trfn DTO ACC         US RR57F 4723 Amzn com WA 4490950001142046        000000000009516 4,200.00
0800305057501-25         SEQ 8 103223100391                               012000126120113  15,000.00
                                                                              69.48 000001003910000
Onln
 02-05Bkg Trfn DTO
        Outgoing   Wire Richard B. Gerdts                                      012000126115217
                                                                           5,095.89             15.00
                                                                                     000000000009053
ACC
 02-05 Outgoing Wire First Choice Bank                                     096016930962850
                                                                         10,000.00          2,663.77
                                                                                     000000000009014
0800305057501-25
 02-05 Outgoing Wire JMBM Depository Ac ct                                096016930962566
                                                                         15,000.00         10,200.00
                                                                                     000000000007802
?OS  Purchase
 02-05  Outgoing Wire Howard Wu                                           012000127111630
                                                                         15,000.00         11,100.00
                                                                                     000000000008396
MERCHANT  PURCHASE
 02-05 Outgoing    Wire Taylor Woods                                                 012000127111725
                                                                         15,000.00 000000000008437
TERMINAL  449215•Wire Potter Anderson 6 Corroon LLP
 02-05 Outgoing                                                         100,000.00 000000000007821
 02-05 Orlin Bkg Trfn DTo ACC 08003050575                                    100.00 012000205145820
 02-05 Onin Bkg Trfn DTO ACC 08003171263                                     100.00 012000205145900
                                                                        89.4369.43   000007157640000
01-25
 02-05POS  Purchase
        Onln  Bkg Trfn DTO ACC 08003171348                                 1,000.00 012000205160712
 02-05 Onln Bkg Trfn DTO ACC 08003086439                                 68,300.00
                                                                             490.00 012000205161805
                                                                                     051000017217958
 02-06 Outgoing Wire Howard Wu                                           27,000.00
                                                                           6,000.00 000000000008207
                                                                                     000000000007777
01-25
 02-08 Preauth
        Onln BkgDebit
                   Trfn DTO ACC 08003091066                                2,400.00
                                                                             320.00 012000206180334
                                                                                     012000128140259
01-25
 02-08 Preauth
        Onln BkgDebit
                   Trfn DTO ACC 0800305056-                                3,000.00
                                                                           1,770.00 012000208181117
                                                                                     012000128140043
01-26
 02-08 Outgoing
        Onln Bkg Wire
                   Trfn DTO ACC 08003050575                                4,200.00
                                                                           2,700.00 012000208115358
                                                                                     012000128154544
01-26
 02-08 Outgoing
        Onln Bkg Wire
                   Trfn DTO ACC 08003050906                                6,200.00 5,800.005,600.00
                                                                                     012000208190808
01-26
 02-08 Onln
        Onln Bkg
              Ekg Trfn
                   Trfn DTO ACC 08003171348                                6,700.00  012000208115708
                                                                           012000128133246  8,300.00
01-26
 02-08 Onln
        Onin Bkg
              Bkg Trfn
                   Trfn DTO ACC 08003050575                              10,000.00   012000208115319
                                                                           012000128134439  7,500.00
                                                                         17,000.00   012000208181808
                                                                          000000000008809  25,000.00
                                                                          0000000000069550000000000
                      DTO ACC 08003086439
                      DTO ACC 08003171348




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      DTO ACC 08003050575
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      Nick Management in c.
       DTO ACC 08003171363     Main Document          Page 54 of 100
       AMEX EPAYMENT ACH PMT 210122
       Taylor Woods
       Howard Wu
       DTO ACC 08003050575
       DTO ACC 08003050575
       MERCHANT PURCHASE TERMINAL 44921I.
       GRUBHUBVERSAILLESC UBA GRUBHUB C NY
       4490950001142046 SEQ U 102226713466
       MERCHANT PURCHASE TERMINAL 449215
       GRUBHUBGENWAXOP.EAN BBQ GRUBHUB C NY
       4490950001142046 S£Q 0 102328715557
       Tesla 13 AGNT PYMNT 210125
       WELLS FARGO CARD RESERVE 210125
       Mick Management In c.
       JMBM Depository Ac ct
       DTO ACC 08003171348
       DTO ACC 08003050575
       REP CF MBFS D000007852 210126
       NSF'S - 15.00 D000007844 210126
       DTO ACC 08003050575
       DTO ACC 08003171348
       MERCHANT PURCHASE TERMINAL 449215
       GRUBHUBBBQBILL GRUBHUB C NY
       4490950001142046 SEQ 0 102626715764
       BANK OF AMERICA QRMT Pymt 210126 URBAN COMM

       Mick Management In c.
       DTO ACC 08003171348
       DTO ACC 08003171348
       DTO ACC 08003171348
       DTO ACC 08003050575
       DTO ACC 08003050575
       Brian Thomas De Ma rco
       Potter Anderson & Corroon LLP
       DTO ACC 08003050575
       DTO ACC 08003086439
       MERCHANT PURCHASE TERMINAL 449215
       GRUBHUBNORTHERNCAF ECH GRUBHUB C NY
       4490950001142046 SEQ 0 102822715904




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             Case
             Case 2:23-ap-01292-WB
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                                   Doc 24
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                                   Main Document       Page 21 of 29
                                                      Page  55 of 100
                                                       ACCOUNT STATEMENT Page 2
135 N. Los Robles Ave., 6TH FL.                             of 6 STARTING DATE:
Pasadena, CA. 91101                                    February 01, 2021 ENDING
                                                   Total days in statement period: 28
URBAN COMMONS LLC                                                         80-03171231
{                                                                                   I)


             02-16       Deposit       TLR 606 BR 8006              10,000.00    02130060612532",
             02-17       Onin     Trft   FR   06003121178            2,000.00    012000217125715
             02-17       Onin     Trft   FR   08003121178           10,000.00    012000217155835
             02-17       Onln     Trft   FR   08003121178           14,000.00    012000217123643
             02-17       Deposi                                     22,538.68    000007054120520
             02-19       Onln     Trft   FR   08003121178              100.00    012000219162114
             02-19       Onln     Trft   FR   08003121178            5,000.00    012000219114723
             02-22       Onln     Trft   FR   08003050575              600.00    012000222112418
             02-22       Onin     Trft   FR   08003171264            3,600.00    012000222112224
             02-26       Wire Trans-IN TAYLO R WOODS                20,000.00    000000000009678


 CHECKS
 Humber                  Date                Amount                       Control
 104                     02-16             2,000.00                000009267890480


 DEBITS
 02-01 Outgoing Wire Potter Anderson L Corroon LLF                  25,000.00    000000000009542
 02-0 FOS            MERCHANT PURCHASE TERMINAL 449215
 1    Purchase       GRUBHUBHAIDILAOHOT POT GRUBHUB C NY
                     4490950001142046 SEQ 8 103028719068                92.77    00000719068000C
 02-0 ?OS           MERCHANT PURCHASE TERMINAL 469216 AMEN
 2    Purchase      Mktp US RR57F 4723 Amzn com WA
                                                                        69.48    000001003910000
 02-0   Outgoing           Richard B. Gerdts                         5,095.89    000000000009053
 02-0   Outgoing           First Choice Bank                        10,000.00    000000000009014
 02-0   Outgoing           JMBM Depository Ac ct                    15,000.00    000000000007802
 02-0   Outgoing           Howard Wu                                15,000.00    000000000008396
 02-0   Outgoing           Taylor Woods                             15,000.00    000000000008437
 02-0   Outgoing           Potter Anderson 6 Corroon LLP           100,000.00    000000000007821
 02-0   Orlin Bkg Trfn    DTO ACC 08003050575                          100.00    012000205145820
 02-0   Onin Bkg          DTO ACC 08003171263                          100.00    012000205145900
 02-0   Onln Bkg          DTO ACC 08003171348                        1,000.00    012000205160712
 02-0   Onln Bkg          DTO ACC 08003086439                       68,300.00    012000205161805
 02-0   Outgoing           Howard Wu                                27,000.00    000000000008207
 02-0   Onln Bkg          DTO ACC 08003091066                        2,400.00    012000206180334
 02-0   Onln Bkg          DTO ACC 0800305056-                        3,000.00    012000208161117
 02-0   Onln Bkg          DTO ACC 08003050575                        4,200.00    012000208115358
 02-0   Onln Bkg          DTO ACC 08003050906                        6,200.00    012000208190808
 02-0   Onln Ekg          DTO ACC 08003171348                        6,700.00    012000208115708
 02-0   Onin Bkg          DTO ACC 08003050515                       10,000.00    012000208115319
 02-0   Orlin Bkg Trfn    DTO ACC 08003171264                       17,000.00    012000208181808




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                  Case
                Case    2:23-ap-01292-WB
                     2:23-ap-01292-WB      Doc
                                         Doc 25 24Filed
                                                   Filed01/02/24
                                                         11/30/23 Entered   11/30/2318:43:10
                                                                  Entered 01/02/24   22:25:23 Desc
                                                                                               Desc
                      Case 2:23-ap-01292-ER
                                        MainDoc 1 Filed 06/21/23
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 XXH1928DPCSTM     02282108003171231            Main Document         Page 15 of
XXH1928DPCSTM          02282108003171231 k   Main Document   Page 22 of 29
                                   A C C O      U N T   S T A T   E   M E N T   P a g e     3   o f   6
                             S T A R T I N      G   D A T E :     F   e b r u a r y   0 1   ,   2 0 2 1
     1               E N D I N G   D A T E      :   F e b r u a   r   y   2 8 ,   2 0 2 1     T o t a l
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                                                    Total days in statement period: 28
                     URBAN COMMONS LLC
                                                                            60-03171231
 Date     Transaction Description
02-08     POS Purchase   MERCHANT PURCHASE TERMINAL 449215           Subtractions Control Number
                         GRUBHUBGENWAKOP.EP.N BBQ GRUBHUB C
                         NY
    02-   POS Purchase    MERCHANT PURCHASE TERMINAL 449215
                          GRUBHUBGENWAKOREP.N BBQ GRUBHUB C NY
                          4490950001142046 SEQ # 103728715572           156.80     000007155720000
02-0                                                                              000000000007319
          Outgoing Wire   Outgoing Wire Mick Management In c.        33,000.00
 9                                                                                000000000007379
          Onln Bkg      Onln Bkg Trfn DTO
02-09                                                                 8,000.00    012000209122450
          Trfn         ACC?.CC 08003171348
          Onln Bkg     Onln Bkg Trfn DTO
02-09                                                                 9,500.00    012000209122243
          Trfn             ACC 08003171363
          Onln Bkg     Onln Bkg Trfn DTO
02-09                                                                20,000.00    012000209122149
          Trfn             ACC 08003050575
          Preauth       ?reauth Debit DTPDTF - 0.00 D000008388
02-09                                                                 1,65/.84    096016930076472
          Debit         210209
          Outgoing      Outgoing Wire Global Law Group C
02-10                                                                 1,811.00    000000000004937
          Wire          erporationorporation
          Outgoing
02-10                   Outgoing Wire Donald J. Watson J r            5,000.00    000000000007361
          Wire
          Outgoing
02-10                   Outgoing Wire PWC Developers LLC             20,000.00    000000000007476
          Wire
          Outgoing      Outgoing Wire Potter Anderson G Corroon
02-10                                                                100,000.00   000000000007338
          Wire          LLP
02-10     Onln0n1n Bkg Trfn DTO ACC 08003171348                       1,000.00    012000210113745
02-10     Onln Ekg'TrfnBkg•Trfn DTO ACC 08003171348                   2,700.00    012000210162214
          Onln Bkg        Onln Bkg Trfn DTO
02-10                                                                 3,000.00    012000210113713
          Trfn               ACC 08003050575
          Onln Bkg        Onln Bkg Trfn DTO
02-10                                                                29,000.00    012000210160450
          Trfn               ACC 08003086439
          Preauth         Freauth Debit AMEX £PAYMENT ACH PM?
02-10                                                                 5,930.99    091000011034959
          Debit           210210
          Outgoing
02-11                     Outgoing Wire JHBMJPIBM Depository Ac ct   15,000.00    000000000003537
          Wire
          Outgoing
02-11                     Outgoing Wire Howard Wu                    30,000.00    000000000003403
          Wire
                             Orlin Bkg Trfn
02-11     Orlin Bkg Trfn                                              2,500.00    012000211124321
                         DTO ACC 08003171348
          Onln Bkg        Onln Bkg Trfn DTO
02-11                                                                 4,500.00    012000211124227
          Trfn               ACC 08003050575
02-11     0n1n Bkg        Onln Bkg Trfn DTO                           4,650.00    012000211161541
          Trfn                           ACC




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                                 1348
                        Onln 3kg Trfn DTO
        Onln 3kg                      ACC
02-11                                                               7,500.00    012000211161657
        Trfn           080030505750900305
                                     0575
        Outgoing
02-12                   Outgoing Wire Brian Thomas De Ma rco        7,500.00    000000000003143
        Wire
        Outgoing
02-12                   Outgoing Wire Howard Wu                     10,000.00   000000000002463
        Wire
        Outgoing
02-12                   Outgoing Wire Taylor Woods                  10,000.00   000000000002476
        Wire
        Onln Bkg        Onln Bkg Trfn DTO
02-12                                                               4,200.00    012000212124158
        Trfn                ACC 08003171348
        Onln Bkg        Onln Bkg Trfn DTO
02-12                                                               16,500.00   012000212124332
        Trfn                ACC 08003171264
        Onin 3kg        Onin 3kg Trfn DTO
02-12                                                               17,100.00   012000212124123
        Trfn                ACC 08003050575
        Onin Bkg        Onin Bkg Trfn DTO
02-12                                                               66,760.00   012000212125646
        Trfn                ACC 08003086439
 02-    POS Purchase           MERCHANT PURCHASE TERMINAL 494300
                       AIR001215 651103FORT WORT TX
02-12   POS              MERCHANT    PURCHASE  TERMINAL    494300
        Purchase         AMERICAN AIR001215 651103FORT WORT TX
                                                                       11.20    000009780000000
02-12   ?OS           ?OS Purchase MERCHANT PURCHASE TERMINAL
        Purchase      494300 AMERICAN AIR001215 651103FORT
                      WORT TX
                      4490950001142046 SEQ 8 104226918000              11.20    000009780000000
                     AIR001215 651103FORT WORT TX
                      4490950001142046 SEQ 9 1042269"8000              11.20    000009780000000
 02-    POS Purchase       MERCHANT PURCHASE TERMINAL 494300
                      AIR001215 651103FORT WORT TX
02-12   POS           MERCHANT   PURCHASE   TERMINAL    494300
        Purchase      AMERICAN AIR001215 651103FORT WORT TX
                                                                       11.20    000009780000000
02-12   Preauth         Preauth DebitBANK OF AMERICA ORM?QRMT
        Debit           ?TutTilt 210211 URBAN COMM                    102.32
                                                                                051000019175686
02-12   Freauth         Freauth Debit BANE OF AMERICA QRMT Pymt
        Debit           210211 URBAN COMM                                       051000019175688
                                                                    1,398.18
                                                                    1,398.18     051000019175688
        Outgoing                                                    3,000.00    000000000006704
02-16                   Outgoing Wire NES Financial Corp .
        Wire




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XXH1928DPCSTMXXH19280PCSTM              03312108003171231 (   Main Document Page 1623 of 2029 )
                                                                    ACCOUNT STATEMENT
                                                                          Page 3 of 5
    :35 N. Los Robles Ave.,                                                    6TH FL.   STARTING DATE: March 01,
    2021
    Pasadena, CA.                                         91101ENDING DATE: March 31, 2021
 Total days in statement period:                                                 31
 URBAN COMMONS LLC                                                      80-03171231
                                                                                0)

  03-10 Onln 5kgEkg Trfn DTO ACC 08003171348                         2,200.00   012000310120308
  93-11 Outgoing Wire Potter Anderson 6 Corroon LLP                100,000.00   000000000005907
  03-11 Onln Ekg Trfn DTO ACC 08003050575                              200.00   012000311113336
  03-11 Onln Ekg Trfn DTO ACC 08003121178                           50,000.00   012000311151820
  03-15 POS Purchase MERCHANT PURCHASE TERMINAL 449215 POSTMATES
                       405D3 ME ET F HTTPSPOST CA 4490950001142046
                                                                                0000063-4270000
                        SEQ # 10732663742"                              24.66
                                                                                0000063'4270000
   03-15 POS Purchase MERCHANT PURCHASE TERMINAL 449215 POSTMATES
                                                                                0000063-4270000
                        SEQ # 10732763742'                              68.16
                                                                                0000063'4270000
   03-15 POS Purchase MERCHANT PURCHASE TERMINAL 46921E.
                       VERIZONWRLSS RTCCR VS 600 922 0
                      4490950001142046 SEQ #
                                                                       527.74   000001001710000
                      10-32310017110"323100171
   03-16 FOS Purchase MERCHANT PURCHASE TERMINAL 449215 POSTMATES
                     107526637479                                        6.17   0000063'4790000
  03-16 POS Purchase MERCHANT PURCHASE TERMINAL 449215 POSTMATES
                     TIP HTTPSPOST CA 4490950001142046 S£Q #
                     107528637479                                       17.04   0000063'4790000
  03-16 Analysis ServicANALYSIS ACTIVITY FOR 02/21                   4,260.37   000000000000000
  03-17 POS Purchase MERCHANT PURCHASE TERMINAL 449215 POSTMATES
                      SEQ # 107523637515                              46.39     0000063'5150000
  03-18 Onln Ekg Trfn DTO ACC 08003050906                             50.00     012000318124024
  03-18 Onln Ekg Trfn DTO ACC 08003171348                            850.00     012000318121619
  03-18D3-18 POS PurchaseMERCHANT PURCHASE TERMINAL 449215 POSTMATES
                       TIP HTTPSPOST CA 4490950001142046 SEQ
                      107621637526                                    11.60     0000063'5260000
  03-18 POS Purchase MERCHANT PURCHASE TERMINAL 449215 POSTMATES
                        4050340803 ME ET F HTTPSPOST CA 4490950
                        001142046
                      SEQ # 107623637564                              16.79     0000063'5640000
  03-19 Outgoing Wire Woolley Investment s LLC                     5,000.00     000000000007569
  03-19 Onln Bkg Trfn DTO ACC 08003086439                          2,000.00     012000319163016
  03-19 Onln Bkg Trfn DTO ACC 08003050575                          5,000.00     012000319161449
  03-19 Onln Bkg Trfn DTO ACC 08003050906                          6,000.00     012000319191129
  03-19 Onln Eke Trfn DTO ACC 08003171256                         27,000.00     012000319191803
  03-19 POS Purchase POS PURCHASE TERMINAL 77827301 SO *BRIGITTE
                        107719188346                                    75.00   000001883460000




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03-19 FOS Purchase MERCHANT PURCHASE TERMINAL
                                         Main449215 POSTMATES
                                              Document
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                    107823637621                                     4.20   0000063'6210000
03-22 Outgoing Wire Potter Anderson   Corroon LLP               20,000.00   000000000008466
03-22 Onln BkgOrin Ekg Trfn DTO ACC 08003050906                    675.00   012000322140555




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XH192BDPCSTM        0331210800317123 (
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 135 N. Los Robles Ave., 6TH FL.                 A C C O   U N T   S T A T     E   M E N T   P a g e       4   o   f   5
 Pasadena, CA. 91101                             S T A R   T I N G   D A T     E   :   M a r c h   0   1   ,   2   0 2 1
                                         E N D I N G   D   A T E :   M a r     c   h   3 1 ,   2 0 2   1     T o   t a l
            URBAN COMMONS LLC                      d a y   s   i n   s t a     t   e m e n t   p e r   i   o d :     3 1
                                                                                             6 0 - 0   3   1 7 1   2 3 I
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  135 N. Los Robles Ave., 6TH                        2 0 2 1   E N D I N G           D A T E :   M a   r   c h     3 1 ,
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           URBAN COMMONS LLC                                                                 6 0 - 0   3   1 7 1   2 3 I
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Date    Transaction Description                                        108420637887
03-22 Onln Bkg Trfn DTO ACC 08003171348          03-25 ?OS Purchase    MERCHANT PURCHASE TERMINAL
03-22 FOS Purchase    MERCHANT          PURCHASE                       449215 POSTMATES
                      TERMINAL 449215 POSTMATES                        40803403D3 NO BLE
                      TIP      HTTPSPOST      CA                       HTTPSPOST CA
                      4490950001142046 SEQ 9                           4490950001142046 SEQ 94
                      106129637757                                     108329637881
03-22 FOS Purchase    MERCHANT          PURCHASE 03-26 Onln Bkg Trfn DTO ACC 08003050575
                      TERMINAL 449215 POSTMATES 03-26 ?OS Purchase     MERCHANT PURCHASE TERMINAL
                      TIP      HTTPSFOST      CA                       449215 POSTMATES
                      4490950001142046 SEQ                             4080340B03 LJ S S
                      107921637675                                     HTTPSPOST CA
03-22 POS Purchase    MERCHANT PURCHASE TERMINAL                       4490950001142046 SEQ 9
                      449215 POSTMATES 40803 NO                        108424637925
                      BLE HTTPSPOST CA           c
                                                  03-29 Outgoing. Wire Potter Amderson a Corroon
                      4490950001142046 SEQ 9                           LLP
                      107921637712               03-29 Onln Bkg Trfn DTO ACC 08003091066
13-22 FOS63-22 ?OS Purchase       MERCHANT       03-29 Onln Bkg Trfn DTO ACC 08868001960
                      PURCHASE TERMINAL 449215 03-29 POS Purchase     MERCHANT PURCHASE
                      POSTMATES 40803 *LIYI FANG                       TERMINAL 449215 POSTMATES
                      HTT?SPOST               CA                       TIP HTTPSPOST CA
                      4490950001142046 SEQ 90                          4490950001142046 S£Q
                      10782963766'                                     9H 108726637025
03-23 OnlnOnin 8kg Trfn DTO ACC 08868001960      03-29 POS Purchase    MERCHANT PURCHASE TERMINAL
03-23 FOS Purchase    MERCHANT PURCHASE TERMINAL                       449215 POSTMATESPOSTI4ATES
                      449215•149215    POSTMATES                       TIP      HTTPSPOST      CA
                      TIP      HTTPSPOST      CA                       4490950001142046 SEQ 0
                      4490950001142046 SEQ 0                           108523637935
                      108229637800               03-29 FOS Purchase    MERCHANT PURCHASE TERMINAL
03-23 POS Purchase    MERCHANT          PURCHASE                       449215 POSTMATESPOSTI4ATES
                      TERMINAL 449215 POSTMATES                        40803 YI FANG HTTPSPOST CA
                      40803 CA SSIA HTTPSPOST                          4490950001142046 SEQ 0
                      CA 4490950001142046 SEQ 9                        10652363797'
                      108128637792
03-25 Onln Eke Trfn DTO ACC 08003050575
03-25 POS Purchase    MERCHANT          PURCHASE
                      TERMINAL 449215 POSTMATES
                      TIP      HTTPSPOST      CA
                      4490950001142046 SEQ




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                       3,800.00 012000322162810


                         5.08 0000063'7570000


                         6.64 0000063'6750000


                        20.30 0000063'7120000


                        26.55 0000063'6670000
                       100.00 012000323173523


                        25.34 0000063'8000000


                       101.36 0000063'7920000
                       200.00 012000325124251


                         5.69 0000063'8870000


                        22.77 0000063'8810000
                     1,000.00 012000326161609


               46.91 0000063'9250000 30,000.00
      000000000007989 2,060.00 012000329131448
                     50,000.00 012000329153927


                         4.09 0000063'0250000

                        11.73 0000063'9350000


          16.35 0000063'97700000000063'9,70000




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           URBAN COMMONS LLC                                                                   p e      r   i o   d :       3 1
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 Date Transaction Description                    Subtractions Control Number
 ;13-30 Preauth Debit BANK OF AMERICA ORNT
 PmtPymt 210329 URBAN COMM                                                     670.44 051000017819732
                                                                            25,000.00 000000000000022
 03,31 Outgoing Wire Potter                                                 25,000.00 000000000008327
 Anderson s Corroon LLP 08-3108-3i
 Outgoing Wire Potter Anderson &
 Corroon LLP


 DAILY EALANCES
 Date            Amount           Date          Amount           Date            Amount
   02-2       14,736.44           03-10        2,023.70          03-22         1,332.01
   03-0       12,336.44           03-11        1,823.70          03-23         1,105.31
   03-0         1,836.44          03-15      1.203.14            03-25           876.85
   03-0       44,136.44           03-16       -3,080.44          03-26           829.94
   03-0       26,236.44           03-17          8'3.17          03-29             7.77
   03-0      5.119.59             03-18          244.78          03-30           337.33
   03-0         6,823.'0          03-19          165.58          03-31            37.33


     OVERDRAFT/RETURN ITEM FEES
                                                          Total for     I      Total




                                                                                                  Exhibit B, Page 57
Case 2:23-ap-01292-WB            this period
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                                     Total for  Page   64 of 100
                                                   Total
   Total Overdraft                $0.00 I              $0.00
 Total Returned Item Fees

Total Returned Item Fees               50.00 I       $0.00




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              URBAN COMMONS LLC
                                                                                                  A C C O U N             T
                                                                       S T A T E M E N T    P a g e   3   o f             4
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                                                           2 0 2 1   E N D I N G    D A T E :   A p r i l   3 0           ,
                                                          2 0 2 1   T o t a l   d a y s  i n   s t a t e m e n            t
                                                                     p e r i o d :   3 0  8 0 - 0 3 1 7 1 2 3             1
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                                                                                 A C C O U N T   S T A T E M E N T
                                                                                 P a g e   3   o f   4   D A T E :
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            URBAN COMMONS LLC                           Total days in                          p e r i o d :   3 0

  Date   Transaction Description                                                       Subtractions Control
         04-13 POS Purchase        MERCHANT PURCHASE TERMINAL 449215                               Number
                        UBERVEER EATS HELP UBER[JEER CA 4490950001142046
                        SEQ Vh 110324717618
                        110324717618                                                61.53 0000071-61800000000071-616000
  04-14 ATM Withdrawal CASH WITHDRAWAL TERMINAL 00624071 10900 WILSHIRE
                        BLVSLV LA CA 4490950001142046 SEQ
                        110414143036                                                         203.00 000001430360000
                                                                                                 012000414
                                                                                                 130258012
  04-14 Onln BkgEkg Trfn DTO ACC 08003050906                                            50.00
                                                                                                  00041413
                                                                                                      0256
  04-14 POS Purchase      MERCHANT PURCHASE TERMINAL 475542 LAX AIRPORT
                          LOT P 4 LOS ANGEL CA
                          4490950001142046 SEQ 69 110321161038                                    00000161
                                                                                      320.00       0380000
                                                                                                  00000000
  04-15 Outgoing Wire     04-15 Outgoing Wire   ADR Services,         In in.         1,500.00
                                                                                                   000755:
                                                                                                 000000000
                                                                                                 007518000
  04-15 Outgoing Wire     04-15 Outgoing Wire   High Speed, LLC                      1,500.00
                                                                                                  00000000
                                                                                                      7576
                                                                                                 012000415
                                                                                                 163508012
  04-15 Onln Bkg Trfn     04-15 Onln aka Trfn DTO ACC 08003171348                     800.00
                                                                                                  00041516
                                                                                                      3506
                                                                                                 021000027
                                                                                                 776867021
  04-15 Preauth Debit     04-15 Preauth Debit   ALLSTATE INS CO PREM PYMT 210415     1,394.90
                                                                                                  00002777
                                                                                                      6887
                                                                                                  00000000
  04-16 Outgoing Wire     04-16 Outgoing Wire   Potter Anderson 6S Corroon LLP      25,000.00
                                                                                                   0005325
  0.1-16 Onin Bkg Trfn    04-16 Onin 3kg Trfn DTO ACC 08003171348                   80.0060.00    01200041




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             Case 2:23-ap-01292-WB            Doc 25 Filed 01/02/24 Entered 01/02/24     6121626     18:43:10 Desc
04-16 ?OS Purchase  04-16 ?OS PurchaseMERCHANT PURCHASE TERMINAL 449215 POSTI4I%TES 40B03 MA NPOK HTTPSPOST CA 4490950001142046
                                             Main
                                           SEQ II  Document         Page
                                                     11052163785340BD3      67  of 100
                                               MA    NPUK    HTTPSPOST      CA
                                               4490950001142046    SEQ       9
                                               110521637653                                   0000063'8
                                                                                    106.41      530000
04-19 Outgoing Wire    04-10 Outgoing Wire     ASAP Propert7Property Hold ings                00000000
                                                                                   5,000.00
                       Inc.                                                                    0007397
                                                                                              01200041
04-i9 Onin Bkg Trfn    04-19 Onin Bkg Trfn DTO ACC 08868001960                    10,000.00
                                                                                               9162721
                                                                                              01200042
04-20 Onln Skg Trfn    04-20 Onln 3kg Trfn DTO ACC 08003050575                     5,000.00
                                                                                               0122355
04-20 Analysis ServicANALYSIS ACTIVITY FOR 03/21                                   3,269.62   00000000
                                                                                              09601693
04-21 ?reauthPreauth Debit         REP CF MBFS D000012333 210421                     15.00
                                                                                               0524706
                       04-21 ?reauth Debit     DTF - 14.95 D0000123300000012330               09601693
04-21 ?reauth Debit                                                                 789.45
                       210421                                                                  0524657
                                                                                              00000000
04-22 Outgoing Wire    04-22 Outgoing Wire     Loretta Wu                          3,000.00
                                                                                               0007048
04-22 Outgoing Wire    Goodwin Procter LL P                                       10,000.00   00000000
                                                                                              01200042
04-22 OnlnOnin Bkg Trfn DTO ACC 08003050575                                        2,800.00
                                                                                               2163554
                                                                                              01200042
04-22 Onln Bkg Trfn    04-22 Onin 3kg Trfn DTO ACC 08003050575                     5,500.00
                                                                                               2165102
                                                                                              01200042
04-22 Onln Eke Trfn    04-22 Onln Eka Trfn DTO ACC 08003171348                     5,515.00
                                                                                               2160830
                                                                                              01200042
04-22 Onln Skg Trfn    04-22 Onln 5kg Trfn DTO ACC 08003171363                     7,960.00
                                                                                               2163924
                                                                                              00000000
04-23 Outgoing Wire    04-23 Outgoing Wire     Mick Management inIn c.            20,000.00
                                                                                               0004993
                                                                                              01200042
04-23 Onln Bkg Trfn    04-23 Onln Bkg Trfn DTO ACC 08003050906                     8,225.00
                                                                                               3123809
                                                                                              01200042
04-23 Onin Bkg Trfn    04-23 Onin 3kg Trfn DTO ACC 08003050575                     8,500.00
                                                                                               3124547
                                                                                              096015930
                       04-26 Preauth Debit REP CF MBFS                                        554258096
04-26 Preauth Debit                                                                    8.95
                       D000012667D000012661 210426                                            01693055
                                                                                                   4258
                       04-26 Preauth Debit     MBFS - 8.95 D0000126760000012676               09601693
04-26 Preauth Debit                                                               2,588.772,568.77
                       210426                                                                  0555132
                       04-26 Preauth Debit     AMEX EPAYMENTEPAYI4ENT ACH PMT                 09100001
04-26 Preauth Debit                                                               10,816.66
                       210426                                                                  0037111
                                                                                              012000.12
                                                                                              712211801
04-27 Onln Eke Trfn    04-27 Onln 3kg Trfn DTO ACC 08003050575                      130.00
                                                                                              20004271
                                                                                                 22118
                                                                                              01200042
04-27 Onln 3kc Trfn    04-27 Onln 3kc Trfn DTO ACC 08003050575                     6,520.00
                                                                                               7152802
                                                                                              01200042
04-21 Onln 3kg Trfn    04-27 Onin Bkg Trfn DTO ACC 08003171348                     7,515.00
                                                                                               7152723
                                                                                              00000000
04-28 Outgoing Wire    JMBM04-28 Outgoing Wire ,IMBM Depository Ac ct              5,000.00
                                                                                               0006584
                                                                                              00000000
04-28 Outgoing Wire    04-28 Outgoing Wire     Frost Brown Todd L LC              12,822.50
                                                                                               0006912
                                                                                              01200043
04-30 Onln Bkg Trfn    04-30 Onln 3kg Trfn DTO ACC 0600305090608003050906          5,000.00
                                                                                               0115435




                                                                                                    Exhibit B, Page 61
            Case
04-30 Onln Bkg Trfn2:23-ap-01292-WB
                     04-30 Onin Bkg Trfn DTO ACCDoc   25 Filed 01/02/24 7,500.00
                                                 08003086439              Entered01200043
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                                                                                  Exhibit B, Page 62
                    2:23-ap-01292- E W Doc
               Case 2:23-ap-01292-WB        1 24 Filed
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                                        Main Document      Page 2027 of 2029
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                                                                     A C C O U N T       S T A T E M E N T                 P   a   g e       3
                                                              o f      5   S T A R T     I   N   G     D   A T E :     M   a   y     C   l   ,
     135 N. Los Robles Ave., 6TH                                     2 0 2 1   E N D     I   N   G     D   A T E :     M   a   y     3   1   ,
     FL. Pasadena, CA. 91101                                                       2     0   2   1     T   o t a l     d   a   y   s     i   n
                                                                               s t a     t   e   m e   n   t   p e r   i   o   d   :     3   1
                                                                                                             8 0 - 0   3   1   7   1 2   3   1
                URBAN COMMONS LLC                                                            f 2)

   Number        Date      Transaction Descrip=ion                           Additions Control Number
                 05-27   Wire Trans-:      MATTHEW H TAYLOR                    500.00    000000000006484
                 05-27   Wire Trans-:      SUNNY HSU PAOHUA Y EH               500.00    000000000007703
                 05-28   Wire Trans-:      JIA BAO INVESTMENT INC              500.00    000000000007044
                 05-28   Wire Trans-:      NIVEDITA KOHLI                    1,250.00    000000000005059
                 05-28   Wire Trans-:      CNNY VENTURE LLC                  1,500.00    00000000000838:
                 05-28   Wire Trans-:      STE?HEN DARBY B                   2,000.00    000000000005042
                 05-28   Wire Trans-:      40047891219                       2,000.00    0000000000068:1
                 05-28   Pre-Ruth Credit HSI TIEN SENDER 524967056
                                                                                500.00       113000029222785


     CHECKS
     Number              Dale                      Amount                         Control
     503                 05-05                     996.06                 000009119412120


     DEbITS
     Date   Transact ion Description                                        Subtractions Control Number
     05-03 Cnln Bkc Trfn DTO ACC 00003091066                                         20.00 012000503142001
     05-04 Cnln Bkg Trfn DTO ACC 08003171363                                        280.00 01200050413044:
     05-04 Cnln Bkc Trfn DTO ACC 08003171348                                     2,280.00 012000504130359
     05-04 Cnln Bkc Trfn DTO ACC 08003050575                                     6,050.00 012000504130300
     05-05 Cnln Bkc Trfn DTO ACC 08003171363                                        520.00 012000505155622
     05-07 Cnln Bkg Trfn DTO ACC 08003171348                                        860.00 012000507134232
     05-07 Cnln Bkg Trfn DTO ACC 08003050575                                     1,100.00 012000507134140
     05-10 Outgoing Wire        Mick Management In c.                            1,500.00 000000000008421
     05-10 Onln Bkc Trfn DTO ACC 08003050575                                     6,000.00 012000510165642
     05-13 Outgoing Wire        Massive Dynamic In C.                            2,000.00 000000000006817
     05-13 Outgoing Wire        Twanmoh, Peng & As sociates, CPAS,               2,500.00 000000000006280
     05-13 Outgoina Wire        Mick Management In c.                            4,500.00 000000000005770
     05-13 Cnin Bkg Trfn DTO ACC 08003050906                                        100.00 01200051318262:
     05-13 Cnin Bkc Trfn DTO ACC 08003050575                                        500.00 01200051316292:
     05-13 Cnln Bkg Trfn DTO ACC 08003050567                                     2,900.00 012000513182345
     05-13 Cnin Bkg Trfn DTO ACC 08868001960                                    10,000.00 012000513161841
     05-13 Cnln Bkg Trfn DTO ACC 08003086439                                    29,500.00 012000513162156
     05-14 Outgoing Wire        Massive Dynamic In c.                            2,000.00 000000000007217
     05-14 Outgoing Wire        Tamara Woods                                     2,000.00 000000000007243
     05-14 Outgoing Wire        Capital Educators Federal Credit                 2,000.00 000000000007457
     05-14 Outgoing Wire        Neufeld Marks                                   25,000.00 000000000007422
     05-14 Outgoino Wire        J. Bring                                     a,000.00 0000
                      Aajiit 60' gtet'lt-tb.:tLEtVit3
                            -   ..2                       .
                                                            01LEt                                   OPT64s5.1j
      nln               Trfn DTO ACC 08003171348                                3,400.00 012000514163736
     05-14 Cnln Alcq Trfn DTO ACC 08003171363                                   7,960.00 0120005141636-8
     05-17 Outgoing Wire        Massive Dynamic In c.                           2,500.00 000000000007839




                                                                                                           Exhibit B, Page 63
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 In re:                        Main Document       Page 70 of 100
                                                                                                                        CHAPTER: 7
                Dye v. Potter Anderson & Corroon                                                                        CASE NUMBER: 2:23-ap-01292 WB
                                                                                                 Debtor(s).
                                             LLP
Adversary Cover Sheet Page 1 of 2
  B1040 (FORM 1040) (12/15)

               ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING
                       (Instructions on Reverse)                                                       NUMBER (Court Use Only)


 PLAINTIFFS                                                                           DEFENDANTS
  CAROLYN A. DYE, CHAPTER 7 TRUSTEE                                                     POTTER ANDERSON & CORROON, LLP


  ATTORNEYS (Firm Name, Address, and Telephone                                        ATTORNEYS (If Known)
  No.) PEÑA & SOMA, APC
  402 South Marengo Ave., Suite B Pasadena, CA
  91101 Tel: 626-396-4000
 PARTY (Check One Box Only)                              PARTY (Check One Box Only)
 ❑ Debtor     ❑ U.S. Trustee/Bankruptcy Admin            ❑            Debtor ❑ U.S. Trustee/Bankruptcy Admin
 ❑ Creditor   ❑ Other                                    ❑            Creditor       ❑ Other
 ❑ Trustee                                               ❑    Trustee
  CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES
  INVOLVED) Avoid preferential and fraudulent transferes 11 USC 547 and 548




                                                                      NATURE OF SUIT

          (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

      FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
  ❑11-Recovery of money/property - §542 turnover of property                      ❑61-Dischargeability - §523(a)(5), domestic support

  ❑12-Recovery of money/property - §547 preference
  x ❑68-Dischargeability - §523(a)(6), willful and malicious injury
       X 13-Recovery of money/property - §548 fraudulent transfer                         ❑63-Dischargeability - §523(a)(8), student
                                                                                                                                                loan
  ❑14-Recovery of money/property - other                                          ❑64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                             (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
  ❑ 21-Validity, priority or extent of lien or other interest in property         ❑ 65-Dischargeability - other


                                                                                  FRBP 7001(7) – Injunctive Relief
    FRBP 7001(3) – Approval of Sale of Property
  ❑ 31-Approvalofsaleofpropertyofestateandofaco-owner-§363(h)                     ❑ 71-Injunctiverelief–impositionofstay❑ 72-Injunctiverelief

      –other

      FRBP7001(4)–Objection/RevocationofDischarge

  ❑    41-Objection / revocation of discharge - §727(c),(d),(e)                   FRBP 7001(8) Subordination of Claim or Interest
                                                                                  ❑  81-Subordination of claim or interest

      FRBP 7001(5) – Revocation of Confirmation
  ❑51-Revocationofconfirmation                                                    FRBP7001(9)DeclaratoryJudgment❑
      91-DeclaratoryjudgmentFRBP7001(6)–Dischargeability
  ❑    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims            FRBP 7001(10) Determination of Removed Action
  ❑    62-Dischargeability - §523(a)(2), false pretenses, false representation,   ❑ 01-Determination of removed claim or cause
 ❑ Check if this case involves a substantive issue of state law                       ❑ Check if this is asserted to be a class action under FRCP 23
 ❑    Check if a jury trial is demanded in complaint                                  Demand $           550,000




                                                                                                                            Exhibit B, Page 64
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Other Relief Sought         Main Document       Page 71 of 100




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    Case 2:23-ap-01292-ERMain
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                           Adversary Cover Sheet Page 2 of 2
B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                BANKRUPTCY CASE NO.
URBAN COMMONS, LLC                                                     2:21-bk-13523 ER
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Central Disctrict of California                                        Los Angeles                       Hon. Ernest M. Robles
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                  ADVERSARY
                                                                                                          PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/S/ LEONARD PENA




DATE                                                                   PRINT NAME OF ATTORNEY (OR
6/13/2023                                                              PLAINTIFF) LEONARD PENA




                                                         INSTRUCTIONS

         The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

        A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

        The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely
self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.




                                                                                                 Exhibit B, Page 66
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                                        Summons Page
                                  Main Document          1 of
                                                      Page 733of 100
  Attorney or Party Name, Address, Telephone &                                 FOR COURT USE ONLY
  FAX Nos., State Bar No. & Email Address
  LEONARD PEÑA (State Bar No. 192898)
  JULIE A. SOMA (State Bar No. 180170)
  lpena@penalaw.com
  PEÑA & SOMA, APC
  402 South Marengo Ave., Suite B
  Pasadena, California 91101
  Telephone (626)396-4000
  Facsimile (626)498-8875




  Attorney for Plaintiff


                                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES

  In re:

 URBAN COMMONS, LLC,
                                                                             CASE NO.: 2:21-bk-13523 ER
                                                                             CHAPTER: 7
                                                                             ADVERSARY NO.:
                                                            Debtor(s).

 CAROLYN A. DYE, Chapter 7 Trustee,




                                                            Plaintiff(s)
                                 Versus
                                                                                SUMMONS AND NOTICE OF STATUS
 POTTER ANDERSON & CORROON, LLP                                              CONFERENCE IN ADVERSARY PROCEEDING
                                                                                         [LBR 7004-1]



TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                    . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:
            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

              Hearing Date:                                 Address:
                                                               255 East Temple Street, Los Angeles, CA 90012
              Time:                                            3420 Twelfth Street, Riverside, CA 92501
                                                               411 West Fourth Street, Santa Ana, CA 92701
                                                               1415 State Street, Santa Barbara, CA 93101
                                                               21041 Burbank Boulevard, Woodland Hills, CA 91367


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                                                                                                               Exhibit B, Page 67
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                                                   Page 74 of 10006/21/23 11:50:25 Desc
                                     Summons Page 2 of 3


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016-1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file
with the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                 KATHLEEN J. CAMPBELL
                                                                                 CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                 By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
402 S. Marengo Avenue Suite B Pasadena, CA 91101

A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN
ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled: (specify): First Amended
Complaint.                                                                                       will be served or was served (a)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and
LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 11/30/2023           ,I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Carolyn A Dye (TR)
trustee@cadye.com, c197@ecfcbis.com;atty@cadye.com

Beth Gaschen on behalf of Defendant Potter Anderson & Corroon LLP
bgaschen@go2.law,
                                                                                    kadele@go2.law;cmeeker@go2.law;cyoshoni
                                                                                    s@go2.law;bgaschen@ecf.courtdrive.com;dfi
                                                                                    tzgerald@go2.law

                                                                Beth Gaschen on behalf of Interested Party
                                                                Courtesy NEF
                                                                bgaschen@go2.law,
kadele@go2.law;cmeeker@go2.law;cyoshonis@go2.law;bgaschen@ecf.courtdrive.com;dfitzgerald@go2.law

Jeffrey I Golden on behalf of Defendant Potter Anderson & Corroon LLP
jgolden@go2.law,
                                                                                    kadele@ecf.courtdrive.com;cbmeeker@gma
                                                                                    il.com;lbracken@wgllp.com;dfitzgerald@go2
                                                                                    .law;golden.jeffreyi.b117954@
                                                                                    notify.bestcase.com

                                                                Leonard Pena on behalf of Plaintiff Carolyn A
                                                                Dye
lpena@penalaw.com, penasomaecf@gmail.com;penalr72746@notify.bestcase.com

United States Trustee (LA)
ustpregion16.la.ecf@usdoj.gov



                  Service information continued on attached
Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date)            11/30/2023      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.
Hon. Julia W. Brand
United States Bankruptcy Court
225 E. Temple Street, Suite 1382




                                                                                                   Exhibit B, Page 69
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Los Angeles, CA 90012

Service information continued on attached page




                        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                                                   9013-3.1.PROOF.SERVICE




                                                                                                                                      Exhibit B, Page 70
           Case 2:23-ap-01292-ERWB Doc 1-224 Filed 06/21/2311/30/23 Entered 06/21/23
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  In re:                                                                                                                          CHAPTER 7
             Urban Commons,
                                                                                                             Debtor(s).           CASE NUMBER 2:21-bk-13523-ER
                       LLC

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)         , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                                              Service information continued on attached

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
11/30/2023                  NOEMI SANDOVAL                                                              /S/ NOEMI SANDOVAL
Date                        Printed Name                                                                Signature




                        This form is mandatory. It has been approved for use inby the United States Bankruptcy Court for the Central District of California.

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F 7004-1.SUMMONS.ADV.PROC9013-3.1

                                                                                                                                       Exhibit B, Page 71
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                                                                            MOTION
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                          UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE



          IN RE:                          :Chapter 11

          EHT US1, Inc., et al.,          :Case No. 21-10036(CSS)

               Debtors.              :
          ---------------------------
          THE CITY OF LONG BEACH,    :824 Market Street
                                      Wilmington, Delaware 19801
               vs.                   :
                                      Thursday, August 12, 2021
          URBAN COMMONS QUEENSWAY, :Adv. Proc.No. 21-50316(CSS)
          LLC, d/b/a QUEEN MARY,
          --------------------------
          ASAP INTERNATIONAL HOTEL, :
          LLC,
                vs.                  :Adv. Proc.No. 21-50547(CSS)

          SKY HARBOR ATLANTA         :
          NORTHEAST, LLC,
          --------------------------
          ASAP PROPERTY HOLDINGS,    :Adv. Proc.No. 21-50458(CSS)
          INC.,
                vs.                  :

          SKY HARBOR ATLANTA              :
          NORTHEAST,LLC.

                      TRANSCRIPT OF VIDEO HEARING
              BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI
                 CHIEF UNITED STATES BANKRUPTCY JUDGE


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        1
          URBAN COMMONS QUEENSWAY, :
        2 LLC.
                                   :Adv. Proc. No. 21-50476(CSS)
        3      vs.
          EHT ASSET MANAGEMENT,     :
        4 LLC., TAYLOR WOODS, AND
          HOWARD WU,               :
        5 -------------------------

        6 APPERANCES VIA ZOOM: (On the Record)

        7

        8 For the Debtors:                  G. David Dean, Esq.
                                            COLE SCHOTZ, PC.
        9
                                            Nicholas Bassett, Esq.
       10                                   PAUL HASTINGS, LLP

       11
          For the Official Committee        Eric Monzo, Esq.
       12 Of Unsecured Creditors:           MORRIS JAMES, LLP

       13
                                            Bradley O’Neill, Esq.
       14                                   KRAMER LEVIN NAFTALIS &
                                            FRANKEL, LLP
       15

       16 For Monarch Alternative           Matthew Friedenberg, Esq.
          Capital, LP:                      WEIL GOTSHAL & MANGES, LLP
       17

       18
          For Urban Commons, LLC            Christopher Samis, Esq.
       19 Et al, EHT Asset                  POTTER ANDERSON &
          Management, LLC, Taylor           CORROON, LLP
       20 Woods and Howard Wu:

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        1                             I N D E X

        2                          August 12, 2021

        3 PROCEEDING                                                  PAGE

        4 Debtor’s 9019 Motion                                        5

        5 Potter, Anderson’s Motion                                   15

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        1            (Proceeding Commenced At 11:00:44 a.m.)

        2               THE COURT:    Good morning, everyone.     Yes,

        3 hang on for just a second.        How about now?     That’s

        4 good.    I am not getting it anymore.        Sorry about that,

        5 technical difficulties.

        6               Good morning, everyone.     This is Judge

        7 Sontchi.      We’re here in the EHT matter, number of

        8 matters up for today.        Let me turn it over, per our,

        9 sort of, normal procedure, to debtor’s counsel to just

       10 run through the Agenda.

       11               MR. DEAN:    Thank you.   Good morning, Your

       12 Honor.   David Dean of Cole Schotz on behalf of the

       13 Debtors and Debtors in possession with our co-counsel

       14 with Paul Hastings.        As you mentioned, there are a

       15 number of items up today.        Our agenda has four matters

       16 going forward today, each ironically with separate

       17 movants.      We have the Committee’s 2004 motion, which

       18 was carried over from the last hearing.          We have

       19 Potter Anderson’s motion to withdraw as counsel and

       20 the final hearing on their client’s motion to extend

       21 the summary judgment deadline with respect to the PPP

       22 adversary proceeding and then finally, Your Honor, the

       23 matter that we’d like to take first is the Debtor’s

       24 9019 motion relating to Scott’s, which is Agenda Item

       25 Number 8.     So, if it please the Court, I’d like to



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        1 turn it over now to Mr. Despins to address the

        2 debtor’s 9019 motion.

        3               THE COURT:   Any objection?     And then I think

        4 we’ll turn to Potter Anderson’s motion next, but any

        5 objection, Mr. Samis or -- about the taking the 9019

        6 motion first?

        7               MR. SAMIS:   Your Honor, provided that Potter

        8 Anderson’s motion is taken second, no.

        9               THE COURT:   Okay.    That’s fine.    Mr.

       10 Despins?

       11               MR. DESPINS:   Good    morning, Your Honor.

       12 For the record, Luc Despins with Paul Hastings on

       13 behalf of the Debtors.       This is a –- and I’ll

       14 apologize –- I’ll start with an apology, Your Honor.

       15 We know that –- and we were reminded before the

       16 hearing by Mr. Dean very clearly that if there are

       17 matters that are to be adjourned, we cannot do that on

       18 the fly and we need to advise jeepers as long as

       19 before the hearing as possible, but this is one

       20 situation where there are a lot of moving pieces and

       21 I’d like to tee this up and –- but I think that the

       22 hearing on this matter should be fairly narrow and

       23 discreet this morning.

       24               So, in a nutshell, Your Honor, you know, the

       25 Debtors are a little bit stuck between Scott’s and



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        1               MR. SAMIS:   Okay.   With response to the

        2 Committee then, so, Your Honor is correct.           I mean, I

        3 don’t think that’s there any real prejudice in having

        4 to serve registered agents.        The point of hearing this

        5 motion first, at least in our view, was to try to

        6 obtain relief that –- that would not result in their

        7 being prejudice to our clients today.          So, we would

        8 ask that the Court rule on our motion to withdrawal.

        9               I think that if there –- that order

       10 ultimately conditions our withdrawal on our clients,

       11 you know, responding to the –- the 2004 motion in some

       12 fashion in, you know, short order, reasonable order,

       13 then I think that that would accomplish the goal.

       14 Again, there are remedies to all of the situations

       15 that Mr. O’Neill has described as potential threats.

       16 You can serve a registered agent, our clients as

       17 individuals and they end up accepting service.            We

       18 don’t have any of that authority today.          So, we would

       19 ask that the motion to withdrawal be ruled upon and

       20 then the parties address that amongst themselves in

       21 order to avoid direct prejudice to our client in

       22 connection with the withdrawal.

       23               THE COURT:   All right.    Thank you, Mr.

       24 Samis.

       25               MR. SAMIS:   Of course.



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        1               THE COURT:   Well, this is an unfortunate

        2 situation to say the least.        It’s unfortunate that a

        3 firm of Potter Anderson’s reputation and excellence is

        4 put in a position of not being paid for what I, at

        5 least as far as I’ve seen, has been excellent work and

        6 certainly worth the price that they charge and the

        7 market rates that they charge and this Court has to be

        8 very cognizant of the demands of justice, due process,

        9 and prejudice to the parties that arises when a law

       10 firm has to withdrawal as opposed to simply a

       11 substitution of counsel because it leaves a party

       12 without counsel, which increases the difficulty and

       13 expense associated with running the suit, running the

       14 case, whether it be a bankruptcy case or an adversary

       15 proceeding, but at the same time, so far as I

       16 understand the world we live in, at least in this

       17 country, you don’t have to work for free.           You have,

       18 of course, professional obligations, highly ethical

       19 obligations, and there’s no question in my mind and I

       20 think it’s uncontested that Potter Anderson has met

       21 the criteria set forth in the Delaware Rules of

       22 Professional Responsibility and also our local rules

       23 and the ABA model rules with regard to withdrawing as

       24 counsel and it really is a question of how do I

       25 fashion relief to protect the parties that are



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        1 involved in the case from any significant prejudice

        2 arising from Potter Anderson’s withdrawal.

        3               Clearly, there will be added expense, there

        4 will be added hearings probably, there will be added

        5 difficulty for counsel in the case that ultimately

        6 will end up on the backs of the estate or their

        7 clients in additional expense, but everything that is

        8 going to arise so far going forward –- excuse me,

        9 everything that is going to arise going forward in

       10 connection with this case being more difficult is no

       11 different than what you would normally have in a case

       12 had Potter Anderson never been involved.          You would

       13 have had to serve subpoenas on registered agents, you

       14 would’ve had to seek motions for default judgment if

       15 entities don’t answer or individuals don’t answer.

       16 The Court will –- might have to deal with pro se

       17 litigants, which I do, you know, quite often.           Pro se

       18 litigants are more expensive and more difficult to

       19 deal with, but we deal with them in an appropriate way

       20 that respects due process, but doesn’t let people

       21 escape civil liability or the means of ends of justice

       22 simply because they’ve decided not to retain counsel

       23 or can’t afford counsel.

       24               What ultimately might happen here, and I

       25 wouldn’t be surprised, is we end up with bankruptcy



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        1 cases filed on behalf of these non-debtor entities and

        2 Mr. Woods and Mr. Wu and if so, that’s fine, we’ll

        3 deal with it as you would deal with any bankruptcy

        4 being filed by an opponent.

        5               So, I don’t really see any situation where

        6 Potter is really creating additional difficulties that

        7 are above and beyond the normal difficulties that

        8 would arise if dealing with a pro se client or an

        9 unrepresented client and I don’t see any reason to

       10 beyond taking actions.       It sounds like everybody’s

       11 pretty much agreed to, although I haven’t seen any

       12 order, to, you know, protect the integrity of the

       13 record, for example, and the documents, which is

       14 critical.     I don’t really see any point or need to

       15 make Potter Anderson continue to fund the convenience

       16 of the Committee and Debtor’s cases on their backs.

       17 It’s going to cost the Committee and the Debtor more.

       18 It’s going to be more of a hassle, but there’s no

       19 reason –- and Potter Anderson has done nothing in bad

       20 faith, they haven’t done anything that I’ve seen that

       21 would remotely put this Court in a situation where I

       22 would want to, kind of, punitively put them on the –-

       23 on the hook to pay the bill.        They’ve acted

       24 professionally throughout the case.          They’ve won some

       25 things, they’ve lost some things and that’s -- you



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        1 know, that’s what we do when we are involved in these

        2 cases.

        3               So, I am going to allow them to withdrawal.

        4 The withdrawal will be effective upon entry of the

        5 order.   However, I’ll get to in a second how I think

        6 this affects the rest of today’s agenda.          There are

        7 some caveats.      It sounds like many of them have been

        8 negotiated and I am certainly not going to stand in

        9 the way of any conditions that have been negotiated.

       10 It does need to make clear that the documents

       11 currently maintained by Everest on its server or its

       12 vendor’s server has to be maintained.          Of course if

       13 they’re using a vendor to maintain the documents,

       14 there is some cost to Everest and I do appreciate

       15 their willingness to continue to maintain those

       16 documents.     Again, no one needs to work for free, but

       17 if you’re involved in the legal world and as a legal

       18 service provider, you are certainly sometimes going to

       19 be put in a situation where you have to front some

       20 money in order to preserve documents that have been

       21 put in your trust.

       22               With regard to the current amount

       23 outstanding, I am not going to address that.           That’s

       24 an issue that doesn’t really affect the estate.

       25 However –- or the parties here.         That’s a question



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        1 between Everest and its clients.         However, if

        2 documents are going to be –- or searches are going to

        3 happen or documents are going to be retrieved from the

        4 Everest database, at least until otherwise ordered by

        5 the Court, the parties getting that access and getting

        6 those documents is going to have to pay for it.            I

        7 don’t think Everest should be put in a position of

        8 having to continue to provide anything other than

        9 maintenance services without being paid, but that

       10 doesn’t mean they get their arrearage.          That’s –- you

       11 know, that’s a bill they will have to collect from

       12 somebody else.

       13               With regard to those documents –- well, let

       14 me move onto something else.        As far as I understand

       15 from what was told to me today, the documents that

       16 Everest has have all been reviewed by Potter Anderson.

       17 They have been reviewed for relevance to the Debtor’s

       18 first 2004 and for privilege and a privilege log has

       19 been provided.      To me, that’s really a very clean –-

       20 excuse me.     I think we’re in –- with those documents,

       21 I think we’re in a great position.         However, with

       22 requests going forward, the Debtor’s revised requests

       23 and the Committee’s 2004, we’ll have to figure out at

       24 a later date exactly how to proceed there, but

       25 frankly, I’d be –- I think a motion will need to be



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        1 filed or some, sort of, procedure, but if it’s not

        2 responded to, I would simply require –- I don’t care

        3 about relevance.      I’d require the production of

        4 everything that wasn’t privileged.         If –- if we’re

        5 going to get into producing privileged documents that

        6 have already been identified as privileged, the Court

        7 is going to have to figure out how to do that if these

        8 people are –- continued to be unrepresented.           An

        9 unrepresented may require an appointment of a –- of an

       10 independent party to review or something along those

       11 line, but I would not be opposed to simply requiring a

       12 blanket production of those documents that have not

       13 been identified as privileged.         Otherwise, you are

       14 putting the Committee and the Debtor in an awkward

       15 position, but I am not –- that’s not going to be part

       16 of this order.      That would be, I think, a follow up

       17 order on the 2004 that we can deal with at a later

       18 time.

       19               With regard to prejudice against the Urban

       20 Commons Entities and Mr. Woods and Mr. Wu, I am

       21 concerned about that.       They are not going to be

       22 represented.     They need a fair opportunity to figure

       23 out how to get represented if they want to be

       24 represented.     So, the deadline to file the summary

       25 judgment motion response, which is the answering



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        1 brief, will be extended 28 days from the entry of the

        2 order.   No further extensions will be granted without

        3 consent, even on an argument that counsel is just

        4 about to get retained.       That is not going to fly.

        5               With regard to the adversary proceedings

        6 that the unrepresented entities started, they will be

        7 dismissed 28 days after entry of this order, unless –-

        8 without prejudice, dismissed without prejudice by the

        9 Court for proceeding without counsel, as required by

       10 the law.      They will be dismissed 28 days after entry

       11 of the order, unless an entry of appearance is made by

       12 –- by some attorney preferably –- well, an attorney

       13 enters an order of appearance.

       14               With regard to the subpoenas, I am not going

       15 to require Potter Anderson to accept service of

       16 subpoenas on behalf of entities for personal clients.

       17 I think they are getting out of this case.           To the

       18 extent the Committee wants to serve subpoenas, they

       19 are going to have to do so on registered agents and

       20 individuals and those entities will be required to

       21 respond and if they don’t, the Court will enforce

       22 appropriately non-response to subpoenas and, again,

       23 that might be simply to say you can have access to

       24 those 80,000 documents to the extent they are not

       25 privileged sitting at Everest.



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        1               It’s a little unclear to me what Potter has

        2 in its personal files, but certainly they have all

        3 their drafts, they have all their documents on their

        4 regular doc server.       I am sure they have all their

        5 emails.   Everybody –- you know, I am glad they’ve

        6 agreed to preserve emails, I am sure they were going

        7 to preserve emails anyway.        So, the Court, you know,

        8 should definitely require that and they’ve agreed to

        9 it, obviously subject to whatever language the general

       10 counsel comes up with, but, yes, they should

       11 absolutely preserve those documents.

       12               To the extent Potter gets served with a

       13 subpoena after they withdraw as counsel for documents

       14 or correspondence or what have you, Potter Anderson

       15 will have to respond like any other party who receives

       16 a third-party subpoena and all their rights and

       17 obligations are completely unaffected by this order to

       18 any subpoena that gets served on them going forward.

       19               Basically, I think Potter Anderson has acted

       20 professionally and appropriately in seeking to

       21 withdrawal.     I think they’ve done a lot –- well, let’s

       22 put it this way.      They’ve done what they could to

       23 smooth the transition.       They’ve been unable to do some

       24 things because they have an uncooperative client.

       25 That happens.      That’s not their fault.      I am very



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        1 narrowly tailoring their obligations here to make sure

        2 that they get a clean cut out of his case, while at

        3 the same time hopefully preserving the Debtor’s and

        4 the Committee’s rights.

        5               Jumping ahead, I am happy to grant the 2004

        6 motion and I think it’s going to be unopposed, but

        7 it’s -- again, that order is fine as long as it’s

        8 consistent with this order and you’re just –- I am

        9 just not going to require Potter to accept service of

       10 subpoenas on behalf of any of the entities.           You can

       11 certainly build something in there reserving your

       12 rights with regard to the documents that are in

       13 Everest’s possession and with regard to the summary

       14 judgment motion, I think it’s most appropriate to,

       15 again, like I said, kick that out one time, one time

       16 only, 28 days.      I don’t think August 27 th is fair.

       17 Even if they were able to hire counsel today, it’s a

       18 lot of get up to speed on.

       19               Nothing that we are doing in any way shall

       20 adversely affect the current situation with regard to

       21 potential criminal liability associated with the

       22 potentially fraudulent PPP loan.         That is not an issue

       23 that is in front of this Court, nor will it ever be in

       24 front of this Court and I just want to make it clear

       25 that to the extent there’s an argument that’s made in



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        1 the future there should be some delay or influence

        2 based on what this Court did or didn’t do is

        3 absolutely not the case.        I am not addressing that

        4 issue one –- one bit.       That is a potential future

        5 issue based on the actions that occurred and it’s

        6 outside of my jurisdiction and it will proceed

        7 accordingly.     Any questions?

        8               MR. SAMIS:   Your Honor, it’s Chris Samis

        9 from Potter Anderson.       I just want to ask one question

       10 for clarity and make one point of clarification on my

       11 own and I’ll do the point of clarification first.               To

       12 the extent it wasn’t obvious from the presentation,

       13 the review of the documents, the Everest documents

       14 that Your Honor just commented on as having been

       15 quote, unquote, “all reviewed by Potter Anderson,”

       16 they were reviewed, but they were reviewed consistent

       17 with search terms.       So, the extent that search terms

       18 did (indiscernible) particular document, those weren’t

       19 reviewed by Potter Anderson.        They were reviewed in

       20 the context of (indiscernible).

       21               THE COURT:   Understood.

       22               MR. SAMIS:   Okay.   The other point that I

       23 wanted to make, Your Honor –- or the question that I

       24 had rather is I heard Your Honor state that you were

       25 prepared to enter an order on the Committee’s 2004



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        1 motion.   I take it then that Your Honor is denying my

        2 request for there be additional time for Mr. Wu and

        3 Mr. Woods to engage with the Committee to try to put

        4 together a consensual form?

        5               THE COURT:   Correct.

        6               MR. SAMIS:   Okay.    Thank you, Your Honor.

        7               THE COURT:   You’re welcome.     Mr. Despins, do

        8 you have a question?

        9               MR. DESPINS:   Yes, just a clarification,

       10 Your Honor.     You took the preliminary injunction

       11 motion under advisement and that’s obviously perfectly

       12 fine.

       13               THE COURT:   Thank you.

       14               MR. DESPINS:   There’s nothing implicit with

       15 what you’re doing today –- sorry, I didn’t mean that

       16 way, but there’s nothing that you’re ruling on today

       17 that somehow would not allow this to take its own

       18 course?

       19               THE COURT:   Yes.

       20               MR. DESPINS:   Meaning, you’re not staying

       21 consideration of that –-

       22               THE COURT:   No.    I –-

       23               MR. DESPINS:   -- based on your –-

       24               THE COURT:   Thank you.    That’s a very good

       25 question.     Nothing today affects the preliminary



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        1 injunction under advisement.        I am going to decide

        2 that as soon as it's ready for decision.          I am not

        3 going to await counsel, I am not going to await 28

        4 days.   If I do await 28 days, it’s because it’s taking

        5 that long to get it done.        I am a little short staffed

        6 right now, but if it takes 28 days, it’s not because

        7 of anything I’ve done today.        It’s just internal.         So,

        8 that will be issued as –- that will be issued as soon

        9 as the Court is in a position to issue it.

       10               MR. DESPINS:   Thank you, Your Honor.

       11               THE COURT:   You’re welcome.     Mr. O’Neill,

       12 any questions?

       13               MR. O’NEILL:   From what I understand your

       14 premise to be, Your Honor, we will submit an order

       15 with respect to the 2004 motion.

       16               THE COURT:   Okay.   Sounds good.     Yes, and we

       17 can either bill that 28 days on the summary judgment

       18 into the Potter Anderson order or you can simply

       19 submit a cert in connection with your own motion,

       20 however you want to do it, but it should be 28 days

       21 from the entry of the order letting Potter Anderson

       22 out and I am available –- what’s today, Thursday?               I

       23 am in all next week.       So, whenever that order is

       24 ready, just submit it under certification to counsel.

       25 Ms. Semansky (phonetic) is out until Monday.           So, if



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        1 you have it tomorrow, Mr. Dean, submit it to Ms.

        2 Gatson (phonetic).

        3               MR. DEAN:    Thank you, Your Honor.

        4               MR. SAMIS:    Thank you, Your Honor.

        5               THE COURT:    You’re welcome.    Is there

        6 anything else for today or was that it?          I think I am

        7 forgetting something.        I don’t think so.

        8               MR. DEAN:    No, I think that covers it.

        9               THE COURT:    Okay.   That’s enough work for

       10 one day.      All right.   Listen, thank you.     I appreciate

       11 it, all of your professionalism with what is

       12 absolutely perhaps the most –- one of the most

       13 delicate things we have to do in connection with

       14 professional responsibility and again, I think Potter

       15 Anderson appeared, done well, and exited well and I

       16 very much appreciate the professionalism of the

       17 Committee and the debtor and their counsels in

       18 responding appropriately to the situation that has

       19 arisen.    So, I think you all for your professionalism

       20 on this and we are adjourned.

       21               MR. SAMIS:    Thank you.

       22               MR. DESPINS:    Thank you.

       23               MR. O’NEILL:    Thank you, Your Honor.

       24            (Proceeding Concluded At 12:28:16 p.m.)

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                                                          Exhibit C, Page 90
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        2                            CERTIFICATION

        3       I, KRISTIN CORRADO, the assigned transcriber, do

        4 hereby certify the foregoing transcript of proceedings

        5 is prepared to the best of my ability and in full

        6 compliance with the current Transcript Format for

        7 Judicial Proceedings and is a true and accurate non-

        8 compressed transcript of the proceedings, as recorded.

        9

       10 BY:            Kristin Corrado

       11       Kristin Corrado                           8/12/2021

       12       Reliable Transcription                        Date

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                    3070 Bristol Street, Suite 640, Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): POTTER ANDERSON & CORROON LLP’S MOTION
TO DISMISS FIRST AMENDED COMPLAINT FOR (1) AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS,
(2) AVOIDANCE OF POST-PETITION TRANSFER, (3) PRESERVATION OF FRAUDULENT, PREFERENTIAL AND
POST PETITION TRANSFER TRANSFERS, AND (4) DISALLOWANCE OF CLAIMS PURSUANT TO FEDERAL RULE
OF CIVIL PROCEDURE 12(B)(6) AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 7012; AND MEMORANDUM
OF POINTS AND AUTHORITIES IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 2, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                  X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 2, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to
the judge will be completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382 / Courtroom 1375
Los Angeles, CA 90012

                                                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served):                Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
____________________________, I served the following persons and/or entities by personal delivery, overnight mail
service, or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
no later than 24 hours after the document is filed.



                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

      January 2, 2024                       David M. Fitzgerald
           Date                                   Printed Name                                                         Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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kadele@go2.law;cmeeker@go2.law;cyoshonis@go2.law;bgaschen@ecf.courtdrive.com;dfitzgerald@go2.law
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kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeffreyi.b117954@n
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Leonard Pena lpena@penalaw.com, penasomaecf@gmail.com;penalr72746@notify.bestcase.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
